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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Amanda Hancock                                                                                              Michigan State University; the Board of Trustees of Michigan State
                                                                                                            University; Kathie Klages; William Strampel; Jeffrey Kovan; Gary
                                                                                                            Stollak; Douglas Dietzel; Brook Lemmen; Destiny Teachnor-Hauk, etc.
    (b) County of Residence of First Listed Plaintiff             Eaton County, Michigan                     County of Residence of First Listed Defendant Ingham County, Michigan
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Robert M. Giroux & Matthew D. Klakulak, Giroux Amburn PC
28588 Northwestern Hwy, Ste 100, Southfield, MI 48034
(248) 531-8665

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1      Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681 et seq.; 42 U.S.C. § 1983
VI. CAUSE OF ACTION Brief description of cause:
                                           Serial sexual molestation by MSU employee Dr. Nassar; fraudulent concealment/cover-up & related claims
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION          DEMAND $                                                                          CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE Gordon J. Quist                                                                             DOCKET NUMBER 17-00029 & consolidated
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
04/23/2018                                                              /s/ Robert M. Giroux
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

AMANDA HANCOCK,
              Plaintiff,
                                                        Case No. 18-
v                                                       Hon.

MICHIGAN STATE UNIVERSITY;
THE BOARD OF TRUSTEES OF
MICHIGAN STATE UNIVERSITY;
KATHIE KLAGES (individual capacity);
WILLIAM D. STRAMPEL (individual
capacity); JEFFREY R. KOVAN (individual
and official capacity); GARY STOLLAK
(individual capacity); DOUGLAS DIETZEL
(individual and official capacity); BROOKE
LEMMEN, D.O., (individual capacity);
DESTINY TEACHNOR-HAUK (individual
capacity); and KRISTINE MOORE
(individual capacity);
              Defendants.
                                                                                    /
Robert M. Giroux (P47966)
Matthew D. Klakulak (P60220)
Giroux Amburn PC
Attorneys for Plaintiff
28588 Northwestern Highway, Suite 100
Southfield, Michigan 48034
(248) 531-8665
r.giroux@girouxamburn.com
m.klakulak@girouxamburn.com
                                                                                    /

                            COMPLAINT AND JURY DEMAND

       Plaintiff Amanda Hancock, by and through her attorneys, Giroux Amburn, PC, states the

following for her Complaint against Defendants Michigan State University (“MSU”), the Board

of Trustees of Michigan State University, Kathie Klages, William D. Strampel, Jeffrey R.

Kovan, D.O. Douglas Dietzel, D.O., Brooke Lemmen, D.O., Gary E. Stollak, Kristine Moore,

Destiny Teachnor-Hauk (collectively “MSU Defendants”) and Lawrence Gerard Nassar:


                                             1
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                                  INTRODUCTORY STATEMENTS

       1.      This is a civil action for declaratory, injunctive, equitable, and monetary relief for

injuries sustained by Plaintiff as a result of acts and omissions of Defendants MSU, the Board of

Trustees of Michigan State University and their respective employees, agents, and/or

representatives, relating to sexual assault, battery, molestation, harassment, and discrimination

by Lawrence Gerard Nassar (“Nassar”) against Plaintiff.

       2.      At all times pertinent hereto, Nassar was retained and employed by Defendant

MSU and USA Gymnastics, Inc. (“USAG”) to provide medical care, treatment, and advice to

Michigan State University athletes and members of the general public. Nassar regularly provided

such medical care, treatment, and advice at Defendant MSU’s training department and/or MSU

Sports Medicine Clinic

       3.      Nassar came highly recommended to Plaintiff as a renowned orthopedic sports

medicine physician, purportedly well-respected in the sports medicine community, specifically in

the gymnastics community as the Team Physician for the United States Gymnastics team.

       4.      Upon information and belief, Nassar used his position of trust and confidence to

regularly and systematically sexually assault, batter, molest, and harass female patients over the

entire course of his career in his capacity as an employee, agent, and/or representative of

Defendant MSU, USAG and other entities for his own sexual gratification.

       5.      Despite being informed of Nassar’s sexual assault, battery, molestation, and

harassment, Defendant MSU failed to take appropriate action to prevent Nassar from sexually

molesting, abusing, and harassing his patients over the course of his career in his capacity as an

employee, agent, and/or representative of Defendant MSU.




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                                         JURISDICTION

       6.      This action is brought pursuant to Title IX of the Education Amendments of 1972,

20 U.S.C. §§ 1681 et seq., as more fully set forth herein.

       7.      This action also seeks to redress the deprivation of Plaintiff’s rights secured by

the Equal Protection Clause and Due Process Clause of the Fourteenth Amendment of the United

States Constitution pursuant to 42 U.S.C. § 1983.

       8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 in that the controversy arises under the Constitution, laws, and treaties of the United States.

       9.      Subject matter jurisdiction is also founded upon 28 U.S.C. § 1343 which grants

district courts original jurisdiction over any civil action authorized by law to be commenced by

any person to redress the deprivation, under color of any state law, statute, ordinance, regulation,

custom or usage, of any right, privilege or immunity secured by the Constitution of the United

States or by any Act of Congress providing for equal rights of citizens or of all persons within

the jurisdiction of the United States; or any action to recover damages or to secure equitable or

other relief under any Act of Congress providing for the protection of civil rights.

       10.     Plaintiff further invokes the supplemental jurisdiction of this Court, pursuant to 28

U.S.C. § 1367(a) to hear and decide claims arising under state law that are so related to the

claims within the original jurisdiction of this Court that they form part of the same case or

controversy.

       11.     Plaintiff’s claims are cognizable under the United States Constitution, 42 U.S.C. §

1983; 20 U.S.C. § 1681, et seq., and under Michigan law.

       12.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the events

giving rise to Plaintiff’s claims arose in this judicial district, in Ingham County, Michigan.




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       13.     Plaintiff has filed the appropriate Notice of Intent to File Claim with the Michigan

Court of Claims pursuant to MCL 600.6431. (Exh. 1).

                                            PARTIES

       14.     Plaintiff Amanda Hancock is a resident of the Eaton County, State of Michigan.

       15.     Defendant MSU is and was, at all times pertinent hereto, a state-owned and

operated public university and institution of higher education organized and existing under laws

of the State of Michigan.

       16.     Michigan State University receives federal financial assistance and is therefore

subject to Title IX of the Educational Amendments of 1972, 20 U.S.C. § 1681 et seq.

       17.     Defendant The Board of Trustees of Michigan State University is the governing

body for Michigan State University.

       18.     Lawrence Gerard Nassar was at all times pertinent to this action a Doctor of

Osteopathic Medicine, a resident of Ingham County, Michigan, and an employee, agent, and/or

representative of Defendant MSU. Amanda Hancock has already obtained a February 14, 2018

Default Judgment of $1.5 million against Lawrence Gerard Nassar from Ingham County Circuit

Court based on the admitted allegations of her September 25, 2017 Complaint. (Exh. 2, Default

Judgment; Exh. 3, Complaint).

       19.     Lou Anna K. Simon is the immediate past President of Defendant MSU, serving

from approximately January 2005 - 2018.

       20.     M. Peter McPherson is a past President of Defendant MSU and served as

President from approximately 1993 - 2004.

       21.     Defendant William D. Strampel, D.O. (hereinafter “Defendant Strampel”) was the

Dean of the College of Osteopathic Medicine at Defendant MSU, serving as Dean from




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approximately 2002-2017.

       22.     Defendant Jeffrey R. Kovan, D.O. (hereinafter “Defendant Kovan”), is or was the

Director of Division of Sports Medicine at Defendant MSU.

       23.     Defendant Douglas Dietzel, D.O. (hereinafter “Defendant Dietzel”), is the

Clinical Director of MSU Sports Medicine and Team Orthopedic Surgeon for MSU Department

of Intercollegiate Athletics serving as Clinical Director of MSU Sports Medicine since

approximately 2004.

       24.     Defendant Brooke Lemmen, D.O. (hereinafter “Defendant Lemmen”), is or was a

practicing physician with MSU Sports Medicine from approximately 2010 to 2017.

       25.     Defendant Kathie Klages (hereinafter “Defendant Klages”) was the head coach of

the Michigan State University Gymnastics Program until her suspension and resignation in early

2017; she also conducted gymnastics classes and programs for children and young adults not on

the varsity gymnastics team.

       26.     Defendant Destiny Teachnor-Hauk (hereinafter “Defendant TeachnorHauk”) is or

was an athletic trainer for Defendant MSU for various sports including, but not limited to,

softball, track and field, gymnastics, rowing, and volleyball.

       27.     Defendant Teachnor-Hauk regularly referred MSU student athletes to Nassar for

medical treatment.

       28.     Defendant Gary E. Stollak (hereinafter “Defendant Stollak”) was a professor in

the clinical program within the Michigan State University Department of Psychology.

       29.     Defendant Kristine M. Moore (hereinafter “Defendant Moore”) served as the

Assistant Director for Institutional Equity Office for Inclusion and Intercultural Initiatives in

2014. Following the incident that is the subject of this civil action, Defendant Moore began




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serving as, and remains at this time, Assistant General Counsel at Michigan State University.

                                 GENERAL ALLEGATIONS

       30.     Plaintiff incorporates by reference the allegations contained in the various

complaints filed in the respective member cases of the consolidated action of which this case

should likewise be a part, the first-filed of which being Denhollander v. Mich. State Univ., Case

No. 17-00029 (W.D. Mich.).

       31.     At all times pertinent hereto, Lawrence Gerard Nassar maintained an office at

Defendant MSU in East Lansing, Michigan.

       32.     At all times pertinent hereto, including the years 1996 to 2016, Nassar was an

employee, representative, and/or agent of Defendant MSU acting under their control and

supervision.

       33.     At all times pertinent hereto, including the years 1996 to 2016, Nassar was acting

in the scope of his employment or agency with Defendant MSU.

       34.     At all times pertinent hereto, the MSU Defendants and Nassar were acting under

color of law, including acting under color of statutes, ordinances, regulations, policies, customs,

and usages of the State of Michigan and/or Defendant MSU.

       35.     Nassar graduated with a Doctor of Osteopathic Medicine degree from Defendant

MSU in approximately 1993.

       36.     Nassar was employed by, and/or an agent of, Defendant MSU from

approximately 1996 to 2016, serving in various positions, including, but not limited to: (a)

Associate Professor of Defendant MSU’s Division of Sports Medicine, Department of

Radiology, College of Osteopathic Medicine; (b) Team Physician of Defendant MSU’s Men’s

and Women’s Gymnastics Teams; (c) Team Physician of Defendant MSU’s Men’s and




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Women’s Track and Field Teams; (d) Team Physician of Defendant MSU’s Men’s and

Women’s Crew Teams; (e) Team Physician of Defendant MSU’s Intercollegiate Athletics; (f)

Medical Consultant with Defendant MSU’s Wharton Center for the Performing Arts; and (g)

Advisor for Student Osteopathic Association of Sports Medicine.

       37.     As part of Nassar’s employment and contractual duties with MSU, he was

responsible for spending between 50% to 70% of his time engaged in “Outreach” and/or “Public

Services.”

       38.     As a physician of osteopathic medicine, Nassar’s medical care and treatment

should have consisted largely of osteopathic adjustments and kinesiology treatment to patients,

including students and student athletes of Defendant MSU.

       39.     Nassar is not and has never been a medical doctor of obstetrics or gynecology.

       40.     While employed by Defendant MSU, Nassar practiced medicine at Defendant

MSU’s Sports Medicine Clinic, a facility at MSU.

       41.     While employed by Defendant MSU, Nassar sexually assaulted, abused, and

molested numerous female patients by engaging in nonconsensual sexual assault, battery,

molestation, and harassment, including, but not limited to, digital vaginal and anal penetration

without the use of gloves or lubricant.

       42.     The use of gloves when exposed to potentially infectious material, including

vaginal secretion, is mandated by the Michigan’s Administrative Code R.325.70001 et seq.

       43.     As early as 1997 and/or 1998, employees, representatives, and agents of

Defendant MSU were made aware of Nassar’s conduct, yet failed to appropriately respond to

allegations, resulting in the sexual assault, battery, molestation, and harassment of Plaintiff and

other female patients through approximately 2016.




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       44.     Upon information and belief, Defendant MSU and Kathie Klages were expressly

notified by a minor female athlete, Larissa Boyce, in 1997 and/or 1998, while under the

instruction of Kathie Klages and MSU Youth Gymnastics, that Nassar sexual assaulted, battered,

molested, and harassed Larissa Boyce on multiple occasions. (Second Amended Complaint, ¶ 82,

Denhollander v. Mich. State Univ., Case No. 17-00029 (W.D. Mich.), RE63, PgID2924).

       45.     Upon information and belief, after receiving Larissa Boyce’s complaint, Katie

Klages told Larissa Boyce that she must be “misunderstanding” or “reading into” what Nassar

was doing. Kathie Klages convinced Larissa Boyce not to file a formal complaint by explaining

that it would have serious consequences for Larissa Boyce and Nassar. Id. at ¶ 83

       46.     As a result of MSU gymnastics head coach Kathie Klages being informed by

Larissa Boyce of Nassar’s conduct, Jane B8 Doe was asked by Klages if Nassar had performed

the “procedure” involving digital vaginal and anal penetration on Jane B8 Doe, and Jane B8 Doe

responded in the affirmative. Klages told Jane B8 Doe that there is no reason to bring up

Nassar’s conduct. Id. at ¶ 84.

       47.     Despite her complaints to Defendant MSU employees, agents, and/or

representatives, including Kathie Klages, Larissa Boyce’s concerns and allegations went

unaddressed in violation of reporting policies and procedures and Title IX and in a manner that

was reckless, deliberately indifferent, and grossly negligent.

       48.     In or around 1999 the MSU Defendants were also put on notice of Nassar's

conduct by a MSU student and track and cross-country athlete, Christie Achenbach, after she

complained to MSU employees, including trainers and her head coach, Kelli Bert, that Nassar

touched her vaginal area although she was seeking treatment for an injured hamstring.

       49.     Despite her complaints to Defendant MSU’s employees, agents, and/or




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representatives, including trainers and head coaches, Christie Achenbach’s concerns and

allegations went unaddressed in violation of reporting policies and procedures and Title IX and

in a manner that was reckless, deliberately indifferent, and grossly negligent.

       50.     Upon information and belief, Defendant MSU was notified in 2000 that Nassar

committed acts of sexual assault, battery, molestation, and harassment when a student athlete,

Tiffany Thomas Lopez, reported to MSU employees, agents, and/or representatives, including

the highest-ranking employees within MSU’s Training Staff, that Nassar touched her vaginal

area on multiple occasions and inserted his ungloved hand into her vagina, although she was

seeking treatment for back pain. (Complaint, ¶ 26, Lopez v. Nassar, Case No. BC644417 (Cal

Sup. Ct. Dec. 21, 2016)).

       51.     Upon information and belief, an employee, agent, and/or representative of

Defendant MSU, who was one of three individuals that supervised the training department, told

Tiffany Thomas Lopez that what happened to her was not sexual abuse, that Nassar was a world-

renowned doctor, that she was not to discuss what happened, and that she was to continue seeing

Nassar for purported treatment. Id.

       52.     One of the trainers that Ms. Lopez reported to was Lianna Hadden, who is still

presently employed by MSU as an athletic trainer with the volleyball team.

       53.     After reporting the assault to Ms. Hadden, Ms. Lopez also reported the assault to

Destiny Teachnor-Hauk.

       54.     Ms. Lopez told Teachnor-Hauk that she was “extremely uncomfortable,” but

Teachnor-Hauk told Ms. Lopez that Nassar was engaged in actual medical treatment.

       55.      Teachnor-Hauk further dissuaded Ms. Lopez from reporting Nassar's conduct

further by telling Ms. Lopez that if Lopez pursued the matter further that it would cast a burden




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over her family and cause Ms. Lopez a lot of heartache and trauma.

         56.   Teachnor-Hauk also defended Nassar by stating to Ms. Lopez by asking why she

would want to drag Nassar through an allegation of sexual assault.

         57.   Despite her complaints to Defendant MSU employees, agents, and/or

representatives, including the highest-ranking employees within MSU’s Training Staff, Tiffany

Thomas Lopez’s concerns and allegations went unaddressed in violation of reporting policies

and procedures and Title IX and in a manner that was reckless, deliberately indifferent, and

grossly negligent.

         58.   Upon information and belief, Defendant MSU was notified in approximately 2001

or 2002 that Nassar committed acts of sexual assault, battery, molestation, and harassment when

Jennifer Rood Bedford, an MSU student athlete on the women’s volleyball team, was sexually

assaulted and abused during “treatment” by Nassar and reported Nassar's conduct to Defendant

MSU's employees, including MSU athletic trainer Lianna Hadden. 1

         59.   According to Ms. Bedford, Nassar was known among the women's volleyball

team as the “crotch doc” because of his “unconventional methods” of treating sports injuries with

vaginal penetrations. Id.

         60.   Ms. Hadden dissuaded Ms. Bedford from filing a formal complaint or report

against Nassar because it would “involve an investigation, making an accusation against Nassar,

and that stating that I felt that he did something unprofessional or criminally wrong.” Id.

         61.   Upon information and belief, Defendant MSU was notified in approximately 2004

that Nassar committed acts of sexual assault, battery, molestation, and harassment when Kyle



1
   See Nassar Victim: Jennifer Rood Bedford Statement, Jan. 16, 2018, available at
https://www.clickondetroit.com/video/nassar-victim-jennifer-rood-bedford-statement. Last
accessed January 16, 2018.


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Stephens—then 11 or 12 years old—was sexually assaulted and abused during “treatment” by

Nassar and reported Nassar's conduct to Defendant MSU's employees, including Defendant Gary

E. Stollak.

          62.   Defendant Stollak did not report the abuse to law enforcement or to child

protective services.

          63.   Instead, Defendant Stollak suggested that Ms. Stephens and her parents meet with

Nassar.

          64.   Ms. Stephens refused to attend the meeting, but her parents met with Defendant

Stollak and Nassar.

          65.   Also in 2004, a 16-year old woman, Brianne Randall-Gay, reported Nassar's

conduct to her parents and to the Meridian Township Police Department in Meridian Township,

Michigan in 2004.

          66.   The employees, agents, and/or representatives of Defendant MSU, including

MSU trainers, coaches, Katie Klages, Lianna Hadden, and Gary Stollak, had a duty to report

allegations of Nassar’s inappropriate sexual conduct directed at Larissa Boyce, Christie

Achenbach, Tiffany Thomas Lopez, Jennifer Rood Bedford, and Kyle Stephens.

          67.   Because MSU took no action to investigate the 1997/1998, 1999, 2000,

2001/2002, and 2004 complaints and took no corrective action, from 1997 and/or 1998 to 2016,

under the guise of treatment, several individuals, including Plaintiff, were sexually assaulted,

abused, molested, and harassed by Nassar by vaginal digital penetration, without the use of

gloves or lubricant and by touching and groping their breasts.

          68.   Defendant MSU’s deliberate indifference before, during, and after the sexual

assault, battery, molestation, and harassment of Plaintiff was in violation of Title IX of the




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Education Amendments of 1972, 20 U.S.C. § 1681 et seq., 42 U.S.C. § 1983, as well as other

federal and state laws.

         69.    Defendant MSU’s failure to comply with Title IX of the Education Amendments

of 1972, 20 U.S.C. § 1681, et seq., 42 U.S.C. 1983, and other federal and state laws, as describe

herein this Complaint, contributed to the creation of a sexually hostile environment on MSU’s

campus between 1997 and 2018.

         70.    In 2014, following receipt of an unrelated complaint regarding a sexual assault on

Defendant MSU's campus, between 2014 and 2015 the U.S. Department of Education’s Office of

Civil Rights (hereinafter “OCR”) conducted an investigation regarding the complainant's

allegations, another complaint regarding sexual assault and retaliation from 2011, and Defendant

MSU's response to said complaints, and their general policies, practices, and customs pertaining

to their responsibilities under Title IX.

         71.    The OCR concluded their investigation in 2015 and presented Defendant MSU

with a twenty-one-page agreement containing measures and requirements to resolve the 2011

and 2014 complaints and to bring Defendant MSU in compliance with Title IX. 2

         72.    The report confirmed that the “OCR determined that the University’s Title IX

grievance procedures, in place during the time period covered by OCR’s investigation, failed to

comply with the requirements of Title IX.” Id. at 3.

         73.    The report further confirmed that the “OCR determined that a sexually hostile

environment existed for and affected numerous students and staff on campus at the University

during the time period covered by OCR’s investigation; and that the University’s failure to

address complaints of sexual harassment, including sexual violence, in a prompt and equitable

2
 See, Letter from U.S. Deparhnent of Education Office for Civil Rights to Michigan State University,
September 1, 2015, OCR Docket #15-11-2098, #15-14-2113. Available at
https://www2.ed.gov/documents/press-releases/michigan-state-letter.pdf, last accessed January 4, 2017.


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manner caused and may have contributed to a continuation of this sexually hostile environment.”

Id.

       74.      While the OCR was conducting their investigation, additional complaints

regarding Nassar’s conduct surfaced in 2014. Amanda Thomashow reported she had an

appointment with Nassar to address hip pain and was sexually abused and molested by Nassar

when he cupped her buttocks, massaged her breast and vaginal area, and he became sexually

aroused.

       75.      Upon information and belief, Defendant MSU investigated the 2014 complaints

through their Office of Institutional Equity.

       76.      However, Amanda Thomashow reported to Defendant MSU facts which were

omitted or withheld from the investigative report including but not limited to the following:

             a. Nassar was sexually aroused while touching her;

             b. The appointment with Nassar did not end until Amanda Thomashow physically

                removed his hands from her body.

       77.      Three months after initiating the investigation, in July 2014, Amanda

Thomashow’s complaints were dismissed and Defendant MSU determined she didn’t understand

the “nuanced difference” between sexual assault and an appropriate medical procedure and

deemed Nassar’s conduct “medically appropriate” and “[n]ot of a sexual nature.”

       78.      Two of the medical experts consulted by the Office of Institutional Equity in

investigating the victim’s allegations were Defendants Lemmen and Teachnor-Hauk.

       79.      Following the investigation, on or about July 30, 2014, Defendant Strampel sent

an e-mail to Nassar that provided new institutional guidelines and restrictions that Nassar was

subject to including:




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             a. Nassar was not to examine or treat patients alone but was to be accompanied by a

                chaperone such as a resident or nurse;

             b. The alleged “procedure” was to altered to ensure there would be little to no skin

                to skin contact when in certain “regions” and if skin to skin contact was

                “absolutely necessary” the “procedure” was to be explained in detail with another

                person in the room for both the explanation and the “procedure;” and,

             c. New people in the practice were to be “oriented” to ensure understanding with the

                guidelines.

       80.      Defendant Strampel sent a copy of the July 30, 2014 e-mail that outlined Nassar’s

restrictions and guidelines to Defendant Dietzel. 119. At all relevant times, Defendant Dietzel,

Defendant Strampel, and Defendant Kovan were acting in a supervisory role to Nassar.

       81.      The MSU Defendants failed to take any actions to enforce or ensure that Nassar

was in compliance with the restrictions outlined by Defendant Strampel in his July 30, 2014 e-

mail to Nassar.

       82.      Upon information and belief, the MSU Defendants failed to take any action to

orient new MSU employees to ensure that they were aware of the restrictions placed on Nassar.

       83.      In approximately March 2016, Diane Rork was an employee of MSU serving as a

registered medical assistant.

       84.      Through her employment with MSU, Diane Rork had occasion to work with

patients who were to be seen by Nassar.

       85.      At no point in time was Diane Rork ever told of any restrictions or guidelines

regarding Nassar’s treatment of patients.

       86.      On one occasion in March 2016, Diane Rork was completing a chart of a girl




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younger than 13 who was set to be examined by Nassar in an exam room at Defendant MSU’s

Sports Medicine Clinic.

        87.    Nassar ordered Diane Rork to leave the room so that he could “treat” the young

girl alone.

        88.    Diane Rork reported her March 2016 interaction with Nassar to the MSU Police

Department in January 2017.

        89.    MSU terminated Diane Rork’s employment approximately two weeks later.

        90.    In addition, an unnamed registered nurse employed by MSU at the MSU Sports

Medicine from approximately 2015 to 2016, has indicated that she was never made aware of any

restrictions or guidelines concerning Nassar.

        91.    This unnamed registered nurse was the only registered nurse employed by

Defendant MSU’s Sports Medicine Clinic during the time of her employment.

        92.    From July 2014 to September 2016, despite complaints about Nassar’s conduct

and an open criminal investigation into Nassar’s conduct, Defendant MSU continued to permit

Nassar unfettered access to female athletes without adequate oversight or supervision to ensure

he was complying with the new guidelines.

        93.    In a March 14, 2017 interview with Michigan State University Police Department

Detective Sergeant Christopher Rozman, Defendant Strampel admitted that the institutional

restrictions and guidelines that Nassar was subject to were illusory in nature because he only

shared them with Defendant Dietzel and took no action whatsoever to ensure that the

institutional restrictions and guidelines were implemented, followed, or enforced.

        94.    Defendant Strampel also told Detective Sergeant Rozman that he did not want any

other employees in the Sports Medicine Clinic to know that Nassar had been accused of sexual




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assault or that Nassar was subject to institutional restrictions or guidelines.

       95.     Defendant Strampel also admitted to Detective Sergeant Rozman that he did not

take any steps to orient any new employees at Defendant MSU’s Sports Medicine Clinic to the

institutional restrictions or guidelines that Nassar was purportedly subject to until after Nassar’s

termination.

       96.     In a March 15, 2017 interview with Michigan State University Police Department

Detective Lieutenant Andrea Munford, Michigan State University Police Department Detective

Sergeant Christopher Rozman, and Federal Bureau of Investigation Special Agent Rodney

Charles, Defendant Teachnor-Hauk stated that she had never had an athlete tell her that Nassar

had made them uncomfortable or that Nassar had performed digital vaginal penetration.

       97.     Defendant Teachnor-Hauk’s March 15, 2017 statements to law enforcement were

false for the reason that numerous athletes had previously reported concerns of uncomfortable

and inappropriate treatment by Nassar to her, including complaints of digital vaginal penetration

by Nassar under the guise of medical treatment.

       98.     Plaintiff was made aware of Nassar’s widespread sexual abuse sometime after

September 12, 2016 through media coverage.

       99.     Defendant MSU’s failure to properly supervise Nassar and their negligence in

retaining Nassar is in violation of Michigan common law.

       100.     In 2004, Nassar authored a chapter in Principles of Manual Sports Medicine by

Steven J. Karageanes.

       101.    In the chapter, Nassar described the pelvic diaphragm, coccyx, and sacroiliac

ligaments as an area of the body not fully examined due to its proximity to the genitalia and

buttocks, and stated it was “referred to as the ‘no fly zone’ because of the many cultural stigmas




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in touching this area.”

       102.    Nassar recommended taking “special measures to explain any examination and

techniques applied in this region,” and “warning in advance of what you are planning to do,”

among other suggestions.

       103.    There is no mention of intravaginal or intra-rectal techniques or procedures in the

chapter.

       104.    As described in detail below, Nassar failed to follow his own recommendations

with Plaintiff and others as:

           a. He did not explain any intravaginal or intra-rectal techniques to Plaintiff or her

               parents; and,

           b. He did not warn Plaintiff he was going to engage in vaginal or anal digital

               penetration before doing so.

       105.    After receiving allegations of “athlete concerns,” in approximately summer 2015,

Defendant USAG relieved Nassar of his duties.

       106.    Nassar’s employment ended with Defendant MSU on approximately September

20, 2016 only after the MSU Defendants became aware that:

           a. Nassar and USAG were sued by a former Olympian who alleged she was sexually

               assaulted by Nassar; and

           b. A former patient of Nassar, Rachel Denhollander, filed a criminal complaint with

               the Michigan State University Police Department alleging Nassar sexually

               assaulted her when she was 15 years old and seeking treatment for back pain as a

               result of gymnastics. Ms. Denhollander's allegations of sexual assault by Nassar

               included but were not limited to:




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                   i. Massaging her genitals;

                   ii. Penetrating her vagina and anus with his finger and thumb; and

                   iii. Unhooking her bra and massaging her breasts.

       107.    Reasons given to Nassar for his termination included but were not limited to:

           a. Deviation from “required best practices put in place following the internal sexual

               harassment investigation conducted . . . in 2014;”

           b. Failure to disclose a 2004 complaint to Meridian Township Police; and,

           c. Dishonesty by Nassar when Defendant MSU questioned him about receiving prior

               complaints about the “procedure” at issue.

       108.    Shortly after MSU terminated Nassar’s employment, Defendant Klages requested

the MSU Women's Gymnastics Team members to sign a card for the team to show their support

for Nassar-despite the fact that Defendant Klages was aware that Nassar’s employment had been

terminated due to numerous claims of sexual assault against patients and athletes.

       109.    Defendant Klages also passionately defended Nassar to the MSU Women’s

Gymnastics Team and told her athletes that she would trust her own grandkids with him-despite

the numerous allegations of sexual assault against Nassar and the existence of open criminal

investigations into his conduct.

       110.    In September 2016, following MSU’s termination of Nassar’s employment, MSU

Athletic Department's Director of Athletic Communications, Jamie Weir Baldwin, instructed

members of the MSU Women’s Gymnastics Team not to speak to the media or post on their

social media accounts regarding Nassar’s actions.

       111.    Based on the communications of the MSU Athletic Department, members of the

MSU Women’s Gymnastics Team believed that they would be punished by MSU or face




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consequences if they came forward to the police or media to describe sexual assaults against

them.

        112.   In December 2016, following the filing of federal child pornography charges

against Nassar, Defendant Klages continued to defend Nassar and told the parent of one of

Nassar’s victims that the child pornography “could have been planted” by somebody suing

Nassar and also continued to deny that Nassar had sexually assaulted any patients by suggesting

that the victims had “misinterpreted the treatment.”

        113.   MSU did not directly encourage the members of the MSU Women’s Gymnastics

Team to report suspected abuse by Nassar to the police until February 2017—approximately 5

months after MSU terminated Nassar's employment.

        114.   In late November 2016, Nassar was arrested and charged in Ingham County,

Michigan on three charges of first-degree criminal sexual conduct with a person under 13, and

was later released on a $1 million bond.

        115.   In mid-December 2016, Nassar was indicted, arrested, and charged in the United

States District Court for the Western District of Michigan in Grand Rapids, Michigan on charges

of possession of child pornography and receipt/attempted receipt of child pornography.

        116.   According to the federal indictment, Nassar:

           a. Knowingly received and attempted to receive child pornography between

               approximately September 18, 2004 and December 1, 2004;

           b. Knowingly possessed thousands of images of child pornography between

               approximately February 6, 2003 and September 20, 2016, including images

               involving a minor who was under the age of 12.

        117.   Testimony given by an FBI agent at a hearing held on December 21, 2016,




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alleged, among other allegations, that Nassar used a GoPro camera to record video images of

children in a swimming pool and that:

           a. Nassar's hand can be seen grabbing one girl’s hand and shoving it into the vaginal

               area of another girl; and

           b. Nassar’s thumb can be seen pressing into a child's vagina/vaginal area.

       118.    In mid-January 2017, Brooke Lemmen, D.O. submitted a letter of resignation to

Mr. Strampel amid allegations that she:

           a. Removed several boxes of confidential treatment patient records from Defendant

               MSU's Sports Medicine clinic at Nassar's request;

           b. Did not disclose to Defendant MSU that USAG was investigating Nassar as of

               July 2015; and

           c. Made a staff member feel pressured not to fully cooperate in an internal

               investigation into allegations against Nassar.

       119.    On February 7, 2017, a superseding indictment added an additional count of

“Destruction and Concealment of Records and Tangible Objects” alleging between September

19, 2016 and September 20, 2016, Nassar “caused a third-party vendor to permanently delete and

destroy all images, records, documents, and files contained on the hard drive of a laptop

computer, and the defendant threw in the trash a number of external hard drives.”

       120.    On February 17, 2017, following a preliminary examination, Nassar was ordered

to stand trial on three charges of first-degree criminal sexual conduct with a person under 13 in

Ingham County following testimony, which included, among other, allegations of digital vaginal

penetration at Nassar’s residence.

       121.    On February 22, 2017, Nassar was arraigned on 22 counts of first-degree criminal




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sexual conduct with a person under 13 years old, and 14 counts of third-degree criminal sexual

conduct with a person under 13 years old in Ingham County, Michigan and Eaton County,

Michigan.

       122.    On March 17, 2017, Defendant MSU's Office of Institutional Equity released a

Title IX report concluding that Nassar sexually assaulted one of his patients, Rachael

Denhollander, in or about 2000. The report stated that evidence supports a finding that Nassar

“committed these acts in a sexual manner regardless of whether it was done for medical

purposes.”

       123.    At least three more internal Title IX investigations conducted by Michigan State

University following the Title IX investigation for Rachael Denhollander determined Larry

Nassar violated University policy.

       124.    Nassar’s preliminary examinations on the second set of charges in Ingham County

was held on May 12, 2017, May 26, 2017, and June 23, 2017.

       125.    At the conclusion of the preliminary examinations, Nassar was ordered to stand

trial on 12 counts of first-degree criminal sexual conduct following testimony by Rachael

Denhollander and others, which included among others, allegations of digital vaginal penetration

by Nassar.

       126.    Nassar's preliminary examination on the charges issued in Eaton County,

Michigan was held on June 30, 2017.

       127.    At the conclusion of the preliminary examination, Nassar was ordered to stand

trial on 7 counts of first-degree criminal sexual conduct following testimony, which included

among others, allegations of digital vaginal penetration by Nassar.

       128.    Nassar faces a total of 22 counts of first-degree criminal sexual conduct in Circuit




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Court – 15 in Ingham County, Michigan and 7 in Eaton County, Michigan.

       129.    On or about July 11, 2017, Nassar pled guilty in his federal criminal case to: (1)

Receipt and Attempted Receipt of Child Pornography, in violation of 18 U.S.C. §

2252A(a)(2)(A); (2) Possession of Child Pornography, in violation of 18 U.S.C. §

2252A(a)(5)(B); and (3) Destruction and Concealment of Records and Tangible Objects, in

violation of18 U.S.C. § 1519.

       130.    On November 11, 2017 Nassar pleaded guilty to seven counts of first-degree

criminal sexual conduct in Ingham County Circuit Court.

       131.    On November 29, 2017 Nassar pleaded guilty to three counts of first-degree

criminal sexual conduct in Eaton County Circuit Court.

       132.    On December 7, 2017 Nassar was sentenced in the United States District Court

for the Western District of Michigan by District Court Judge Janet T. Neff to three twenty-year

sentences to be served consecutively on his convictions for (1) Receipt and Attempted Receipt of

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2)(A); (2) Possession of Child

Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B); and (3) Destruction and Concealment

of Records and Tangible Objects, in violation of 18 U.S.C. § 1519.

       133.    On January 24, 2018, Nassar was sentenced in the Ingham County Circuit Court

for the State of Michigan by the Honorable Rosemarie E. Aquilina to 40 to 175 years in prison

on seven sexual assault charges.

       134.    On February 5, 2018, Nassar was sentenced in the Eaton County Circuit Court for

the State of Michigan by the Honorable Janice K. Cunningham to 40 to 125 years in prison on

three sexual assault charges.

       135.    The acts, conduct, and omissions of the MSU Defendants, and their policies,




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customs, and practices with respect to investigating sexual assault allegations severely

compromised the safety and health of Plaintiff and an unknown number of individuals, and have

resulted the sexual assault, battery, molestation, and harassment of Plaintiff by Nassar, which has

been devastating for Plaintiff and her family.

        136.    A special, confidential, and fiduciary relationship was created between Plaintiff

and Nassar when Plaintiff sought medical treatment from Nassar in the course of his

employment, agency, and/or representation of the MSU Defendants, resulting in Nassar owing

Plaintiff a duty to disclose known acts of sexual assault, battery, molestation, and harassment

against Plaintiff.

        137.    A special, confidential, and fiduciary relationship was created between Plaintiff

and the MSU Defendants when Plaintiff sought medical treatment from Nassar in the course of

his employment, agency, and/or representation of the MSU Defendants, resulting in the MSU

Defendants owing Plaintiff a duty to disclose known acts of sexual assault, battery, molestation,

and harassment against Plaintiff.

        138.    A special, confidential, and fiduciary relationship was created and existed

between Nassar and the MSU Defendants, resulting in the MSU Defendants owing Plaintiff a

duty to disclose known acts of sexual assault, battery, molestation, and harassment to Plaintiff.

        139.    This action arises from Defendants’ blatant disregard for Plaintiff’s federal and

state rights, and Defendants’ deliberately indifferent and unreasonable response to physician-on-

patient sexual assault, battery, molestation, and harassment.

                         ALLEGATIONS SPECIFIC TO PLAINTIFF

        140.    Amanda Hancock was born in November of 1987 and is currently 30 years old.

        141.    She was involved in ballet and first went to MSU Sports Medicine Clinic, a




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wholly owned affiliate of Michigan State University in December 2004 for back and ankle pain

when she was 17.

       142.    While at the Clinic, someone suggested that she see Nassar for her injury, and she

did.

       143.    Because of her active involvement in ballet, Ms. Hancock continued to have

various orthopedic injuries (knee, ankle, neck, ribs, thoracic spine, lumbar spine, hips, etc.) and

to see Nassar for those injuries.

       144.    During Nassar’s employment with MSU, and under the false pretense that what

he was doing was proper medical treatment, Nassar sexually assaulted, battered, abused, and

molested Plaintiff by manipulating and applying pressure to her breasts and genital area around

her vagina and anus and digitally penetrating her vagina without Plaintiff’s consent and without

medical purpose.

       145.    In early 2005, at one of Ms. Hancock’s first appointments with Nassar, he

manipulated and applied pressure to her breasts.

       146.    At subsequent appointments, Nassar continued to manipulated and applied

pressure to her breast and likewise manipulated and applied pressure to her genital area around

her vagina and anus.

       147.    Starting in 2008 and continuing to 2011, Dr. Nassar would digitally penetrate her

vagina and press with his thumb and forefinger around her vagina and anus.

       148.    Both before and after committing these acts of sexual molestation, Dr. Nassar

claimed and represented to Ms. Hancock that this conduct was a component of his medical

treatment, “to relieve pain, release muscle tension and free up nerve connections in her legs and

lower back,” provide “myofascial release,” and had to do with the “butt and head connection.”




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       149.    In this manner, Dr. Nassar fraudulently concealed that his conduct was not for any

medically appropriate purpose, but rather for his own sexual gratification, and further concealed

the existence of Ms. Hancock’s civil claims against him and others for his conduct, including

claims for assault and battery and fraud.

       150.    Ms. Hancock’s last purported medical appointment with Dr. Nassar was in 2012.

     ALLEGATIONS OF FRAUDULENT CONCEALMENT—MSU DEFENDANTS

       151.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       152.    The MSU Defendants, their agents, apparent agents, servants and employees

committed Fraud and Fraudulent Concealment, as described in detail above and below; making

fraudulent material misrepresentations to Plaintiff that were designed and/or planned to prevent

inquiry and escape investigation and prevent subsequent discovery of the fraud; concealing the

existence of Plaintiff’s claims and that Plaintiff had and has causes of action against the MSU

Defendants at and after the time Nassar’s sexual assaults occurred; and making material

representations to Plaintiff involving past or existing facts by:

           a. Making the statement, explaining, that his acts and/or conduct were a “new

               procedure” which involved vaginal or anal penetration;

           b. Making the statement, referring to his conduct, disguised as “treatment,” as a

               pelvic adjustment;

           c. Making the statement, explaining, that his acts and/or conduct was “checking

               your sternum”;

           d. Making the statement, explaining, that his acts and/or conduct was doing a “breast

               exam”;

           e. Making the statement, explaining, that his acts and/or conduct was medical




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               “treatment” or for a legitimate medical purpose;

           f. Making the statement, explaining, that his acts and/or conduct was “attempting to

               manipulate [their] ribs”; and,

           g. Making a statement, explaining to Plaintiff and/or another medical professional;

               that the position of his hand was in an appropriate place, when it was not and

               while    he   was    digitally   penetrating   Plaintiff,   all   which   were   made

               contemporaneously and/or shortly after the abrupt, sudden, quick, and unexpected

               sexual assaults by Nassar.

       153.    The material representation(s) to Plaintiff were false, in that Nassar was actually

performing them for his own sexual gratification and pleasure evidenced by his observed arousal,

flushed face, and closing of the eyes during the conduct.

       154.    When the MSU Defendants, their agents, apparent agents, servants and employees

made the material representation(s), they knew that they were false, in that they knew that the

“treatment[s]” were not proper, appropriate, legitimate, and/or considered within standard of care

by any physician of any specialty and/or sports therapist.

       155.    The MSU Defendants, their agents, apparent agents, servants and employees

made the material representation(s) with the intent that the material representation(s) should be

acted or relied upon by Plaintiff and/or her parent(s), such that Plaintiff:

           a. Should believe that the “treatments” were in fact legitimate medical “treatments”;

           b. Should believe that the “treatment[s]” were proper, appropriate, and legitimate;

           c. Should not believe that she had been sexually assaulted;

           d. Should not believe that she had been sexually assaulted so that he could prevent

               discovery of his sexual assaults;




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        e. Should continue the “treatment[s]” so that he could continue to sexually assault

            her;

        f. Should not question and/or report the conduct to appropriate authorities; and

        g. Should not reasonably believe and not be aware of a possible cause of actions that

            she has against Nassar, the MSU Defendants, and others.

     156.   Plaintiff acted in reliance upon the material representation(s), in that Plaintiff:

        a. Reasonably believed that the “treatments” were in fact “treatments”;

        b. Reasonably believed that the “treatments” were proper, appropriate, and

            legitimate;

        c. Reasonably did not believe that they had been sexually assaulted;

        d. Believed that they should continue the “treatment[s]”;

        e. Did not believe that they should question and/or report the conduct to appropriate

            authorities; and,

        f. Did not reasonably believe that they had and were not aware of a possible cause

            of action that they had against Nassar, the MSU Defendants, and others.

     157.   Plaintiff thereby suffered injury, in that Plaintiff:

        a. Could not stop the sexual assault;

        b. Continued to undergo the “treatment[s]” and sexual assaults;

        c. And suffered discomfort, bleeding, urinary tract infections, bacterial infections,

            related physical manifestations thereof, sleep deprivation, physical illness,

            vomiting,     severe   emotional    distress,   shock,   humiliation,   fright,   grief,

            embarrassment, loss of self-esteem, disgrace, loss of familial relationships, loss of

            enjoyment of life and will continue to suffer pain of mind and body, was




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               prevented and will continue to be prevented from performing Plaintiff’s daily

               activities and obtaining the full enjoyment of life, and has sustained and continues

               to sustain loss of earnings and earning capacity, among other injuries more fully

               described below.

       158.    The MSU Defendants, their agents, apparent agents, servants and employees

concealed the fraud by affirmative act(s) that was/were designed and/or planned to prevent

inquiry and escape investigation and prevent subsequent discovery of his fraud, in that Nassar:

           a. Positioned himself in a manner in which parents or chaperones in the room could

               not see his conduct, so that he could conceal and prevent discovery of his

               conduct;

           b. Prevented other medical professionals, chaperones, parents, guardians, and/or

               caregivers from being in the room during examinations and treatments of Plaintiff

               so that he could sexually assault Plaintiff;

           c. Did not abide by or follow the standard and care which requires another medical

               professional, chaperone, parent, guardian, and/or caregiver be in the room during

               the examination and treatment of minors and female patients; and

           d. Did not abide by or follow the restrictions that had been put into place in 2014 by

               Defendant MSU restricting his examination and treatment of patients only with

               another person in the room.

       159.    Defendant MSU’s sports medicine trainers, trainers, employees, staff, managers,

supervisors, directors, agents, apparent agents, and/or servants made material representation(s) to

Plaintiff involving a past or existing fact by making statements that:

           a. Nassar was an “Olympic doctor” and “knew what he was doing” in regard to




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                performing appropriate “treatments”;

            b. Nassar was a “world-renowned doctor” and that “it was legitimate medical

                treatment,” in regard to the legitimacy and appropriateness of the “treatments”;

            c. Nassar’s conduct was “not sexual abuse”; and

            d. Nassar’s conduct and “treatment[s]” were “medically appropriate” and “[n]ot of a

                sexual nature” because the complainant “didn't understand the ‘nuanced

                difference’ between sexual assault and an appropriate medical procedure.”

        160.    The material representation(s) to Plaintiff were false, in that the MSU Defendants

had previously received strikingly similar complaints of abuse by Nassar from other patients,

students, and student athletes and knew that the appropriateness of his “treatment[s]” had been

questioned in the past.

        161.    When the MSU Defendants, their agents, apparent agents, servants and employees

made the material representation(s), they knew that they were false and/or made the material

representation(s) recklessly, without any knowledge of their truth and as a positive assertion, in

that they knew that Defendant MSU had previously received strikingly similar complaints of

abuse by Nassar from other students and student athletes and knew that the appropriateness of

his “treatment[s]” had been questioned in the past.

        162.    The MSU Defendants, their agents, apparent agents, servants and employees

made the material representation(s) with the intent that the material representation(s) should be

acted upon by Plaintiff, in that Plaintiff:

            a. Should believe that the “treatments” were in fact “treatments”;

            b. Should believe that the “treatment[s]” were proper, appropriate, and legitimate;

            c. Should not believe that she had been sexually assaulted;




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        d. Should not question and/or report the conduct to other authorities; and,

        e. Should not reasonably believe and not be aware of a possible cause of action that

            she had against Nassar and/or the MSU Defendants.

     163.   Plaintiff acted in reliance upon the material representation(s), in that Plaintiff:

        a. Reasonably believed that the “treatments” were in fact “treatments”;

        b. Reasonably believed that the “treatments” were proper, appropriate, and

            legitimate;

        c. Reasonably did not believe that she had been sexually assaulted;

        d. Reasonably believed that she should continue the “treatment[s]”;

        e. Did not believe that she should question and/or report the conduct to appropriate

            authorities; and,

        f. Did not reasonably believe that she had and was not aware of a possible cause of

            action that she had against Nassar and/or Defendant MSU.

     164.   Plaintiff thereby suffered injury, in that Plaintiff:

        a. Could not stop the sexual assault;

        b. Continued to undergo the “treatment[s]” and sexual assaults; and,

        c. Suffered discomfort, bleeding, urinary tract infections, bacterial infections, related

            physical manifestations thereof, sleep deprivation, physical illness, vomiting,

            severe emotional distress, shock, humiliation, fright, grief, embarrassment, loss of

            self-esteem, disgrace, loss of familial relationships, loss of enjoyment of life and

            will continue to suffer pain of mind and body, was prevented and will continue to

            be prevented from performing her daily activities and obtaining the full

            enjoyment of life, and has sustained and continues to sustain loss of earnings and




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               earning capacity, among other injuries more fully described below.

       165.    The MSU Defendants, their agents, apparent agents, servants and employees

concealed the fraud by making a fraudulent material representation(s) to Plaintiff that was/were

designed and/or planned to prevent inquiry and escape investigation and prevent subsequent

discovery of his fraud, in that they made a material representation(s) to Plaintiff involving a past

or existing fact by:

           a. Making the statement that Nassar was an “Olympic doctor” and “knew what he

               was doing” in regard to performing appropriate “treatments;”

           b. Making the statement that Nassar was a “world-renowned doctor” and that “it was

               legitimate medical treatment,” in regard to the legitimacy and appropriateness of

               the “treatments”;

           c. Making the statement that Nassar’s conduct was “not sexual abuse,” that he was a

               “world-renowned doctor”; and,

           d. Making the statement that Nassar’s conduct and “treatment[s]” were “medically

               appropriate” and “[n]ot of a sexual nature” because the complainant “didn’t

               understand the ‘nuanced difference’ between sexual assault and an appropriate

               medical procedure.”

       166.    The MSU Defendants, their agents, apparent agents, servants and employees

concealed the fraud by affirmative acts that were designed and/or planned to prevent inquiry and

escape investigation and prevent subsequent discovery of his fraud, in that they:

           a. Ignored, refused, and failed to inquire, question, and investigate the complaints

               and take action regarding Nassar’s “treatments”;

           b. Did not create a policy to require adults, parents, chaperones, guardians, and/or




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              caregiver’s presence during an examination of a minor or female by a physician;

              and,

          c. Did not enforce the restrictions that had been put into place in 2014 by Defendant

              MSU restricting his examination and treatment of patients only with another

              person in the room.

       167.   Plaintiff did not know, could not have reasonably known, and was reasonably

unaware of possible causes of action that she had against Nassar and/or the MSU Defendants

until sometime after the September 12, 2016 publication of a story regarding a complaint filed

with Defendant MSU’s Police Department, titled “Former USA Gymnastics Doctor Accused of

Abuse,” for the following reasons among others:

          a. Plaintiff reasonably relied on the Fraud committed by Nassar by his material

              representations and concealment of the true nature of his “treatments[s]”and his

              actions;

          b. Plaintiff was a minor and/or a young female at the time of the assaults and

              “treatments”;

          c. Plaintiff did not know what a legitimate and appropriately performed intra-vaginal

              or intra-anal/rectal treatment was like because they had never experienced and/or

              had an intra-vaginal or intra-anal/rectal treatment before;

          d. Plaintiff had never experienced and/or had an intra-vaginal treatment before

              because they had never been treated by a physician and/or therapist that

              performed them;

          e. Plaintiff did not know what a legitimate and appropriately performed pelvic,

              vaginal, anal, and/or breast exam was like because they had never experienced




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           and/or had a pelvic, vaginal, anal, and/or breast exam before;

        f. Plaintiff had never experienced and/or had a pelvic and/or vaginal exam before

           because pelvic and/or vaginal exams are not recommended and routinely

           performed until a female reaches at least the age of 18 years old, pursuant to

           longstanding recommendations in the literature, expert opinions, treatment

           guidelines, and position statement from the American Academy of Pediatrics,

           American Academy of Family Physicians, American Cancer Society, American

           College of Obstetricians and Gynecologists, American Society for Clinical

           Pathology, and American Society for Colposcopy and Cervical Pathology;

        g. Plaintiff had never experienced and/or had a breast exam before because breast

           exams are not recommended and routinely performed until a female reaches at

           least the age of 21 years old, pursuant to longstanding recommendations in the

           literature, expert opinions, treatment guidelines, and position statement from the

           American Academy of Pediatrics, American Academy of Family Physicians,

           American Cancer Society, American College of Obstetricians and Gynecologists,

           American Society for Clinical Pathology;

        h. Because of these recommendations and never having had one of these treatments

           or exams, it was very difficult if not impossible for Plaintiff to differentiate a

           legitimate and appropriately performed intra-vaginal treatment, pelvic, vaginal,

           anal, and/or breast exam from a sexual assault;

        i. Plaintiff could not have possibly known because there were no parents,

           chaperones, guardians, caregivers, and/or other medical professionals in the room

           during the “treatments” to observe, question, and/or discover that his “treatments”




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           were sexual assaults and inform Plaintiff that they had been sexually assaulted

           and had a cause of action against Nassar;

        j. In the instances where a parent was present in the room, Nassar's actions to

           conceal the physical assaults from the view of the parents prevented the parents

           from discovering that his “treatments” were sexual assaults and informing

           Plaintiff that she had been sexually assaulted and had a cause of action against

           Nassar;

        k. Based on Neuroscience, the prefrontal cortex of the brain, which we use to make

           decisions and distinguish right from wrong, is not fully formed until around the

           age of 23;

        l. Based on Neuroscience, as the prefrontal cortex of the brain matures teenagers are

           able to make better judgments;

        m. Plaintiff was intimidated by Nassar's notoriety and reputation and therefore

           believed his misrepresentations that the “treatment[s]” were legitimate and

           appropriate;

        n. Plaintiff trusted Nassar due to his notoriety and reputation;

        o. Plaintiff trusted Nassar because he groomed them to believe that his “treatments”

           were legitimate;

        p. Plaintiff had no reason to believe or be aware that they could possibly sue or had a

           possible cause of action because she was a minor and young female who was not

           knowledgeable or aware of the civil justice system;

        q. Plaintiff had no reason to believe or be aware that they could possibly sue or had a

           possible cause of action because she was a minor and a young female who was




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           not knowledgeable or aware of any remedy at law;

        r. Plaintiff had no reason to believe or be aware that they could possibly sue or had a

           possible cause of action evidenced by the fact that so many other girls had been

           sexually assaulted by Nassar over the past few decades, none of them had a

           reason to believe or be aware that they could possibly sue or had a possible cause

           of action in the past; and none of them have ever sued him in the past;

        s. Plaintiff was never told by Nassar that his conduct was sexual in nature and not

           legitimate and appropriate “treatment[s]” and to conceal the sexual conduct from

           their parents and others, unlike other victims of sexual abuse who are typically

           told by their perpetrators that their conduct is of a sexual nature and to conceal the

           sexual conduct from their parents and others;

        t. Plaintiff was a minor and then a young adult; therefore, she was easily

           suggestible; and,

        u. Plaintiff had never previously heard about any allegations in the media regarding

           sexual assaults or misconduct by Nassar.

        v. Plaintiff reasonably relied on the Fraud committed by Defendant MSU by their

           material representations and concealment of the true nature of Nassar’s

           “treatments[s]” and his actions;

        w. Plaintiff trusted Defendant MSU that they would protect Plaintiff from harm and

           not hire, employee, and/or retain a physician that had, was, or would perform

           illegitimate and/or inappropriate “treatment[s],” engage in inappropriate conduct,

           and/or sexually assault patients, students, and/or athletes;

        x. Plaintiff was never told by Defendant MSU that Nassar's conduct and




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               “treatment[s]” were inappropriate and sexual assault, to the contrary Plaintiff was

               told that Nassar’s conduct and “treatment[s]” were appropriate and legitimate

               “treatment[s],” “not sexual abuse,” “medically appropriate,” and “[n]ot of a

               sexual nature” from a “world-renowned” and “Olympic doctor,” who “knew what

               he was doing” and that Plaintiff, because of her age and inexperience with intra-

               vaginal treatment, pelvic, vaginal, anal, and/or breast exams, “didn’t understand

               the ‘nuanced difference’ between sexual assault and an appropriate medical

               procedure”; and

           y. Plaintiff reasonably relied on Defendant MSU to protect her and Defendant

               MSU’s statements.

       168.    The actions and inactions of the MSU Defendants, their agents, apparent agents,

servants and employees, as described in the preceding paragraphs, constituted Fraudulent

Concealment.

       169.    At all times pertinent to this action, Nassar was an agent, apparent agent, servant,

and employee of Defendant MSU and operated within the scope of his employment and his

Fraudulent Concealment is imputed to Defendant MSU.

       170.    The actions and inactions of the sports medicine trainers, trainers, employees,

staff, managers, supervisors, and directors of the MSU Defendants, as described in the preceding

paragraphs, constituted Fraudulent Concealment.

       171.    At all times pertinent to this action, the sports medicine trainers, trainers,

employees, staff, managers, supervisors, and directors of Defendant MSU were agents, apparent

agents, servants, and employees of Defendant MSU and operated within the scope of their

employment and their Fraudulent Concealment is imputed to Defendant MSU.




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        172.    At all times material hereto, Plaintiff was entirely free of any negligence

contributing to the injuries and damages hereinafter alleged.

COUNT I—VIOLATION OF TITLE IX OF THE EDUCATION ACT OF 1972, 20 U.S.C.
            §§ 1681 ET SEQ. (AGAINST MSU DEFENDANTS)

        173.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

        174.    Title IX, 20 U.S.C. § 1681(a) provides in pertinent part: “No person in the United

States shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or

be subjected to discrimination under any education program or activity receiving Federal

financial assistance . . .”

        175.    “Title IX also protects third parties from sexual harassment or violence in a

school’s education programs and activities.”

        176.    Under Title IX, sexual harassment is any type of unwelcome conduct of a sexual

nature. “It includes unwelcome sexual advances, requests for sexual favors, and other verbal,

nonverbal, or physical conduct of a sexual nature.”

        177.    Plaintiff is a “person” within the meaning of 20 U.S.C. §1681(a).

        178.    Defendant MSU receives financial assistance for its education program and is

therefore subject to the provisions of Title IX of the Education Act of 1972, 20 U.S.C. § 1681, et

seq.

        179.    The U.S. Department of Education’s Office of Civil Rights has explained that

Title IX covers all programs of a school, and extends to sexual harassment and assault by

employees, students, and third parties.

        180.    Nassar’s actions and conduct were carried out under one of Defendant MSU’s

programs, which provides medical treatment and medical care to students, including student

athletes, and members of the general public.



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        181.    Nassar’s sexual assault, battery, molestation, and harassment of Plaintiff,

including the massaging of breasts and vaginal areas, constitutes sexual discrimination and

harassment under Title IX.

        182.    Nassar’s sexual assault, battery, molestation, and harassment of Larissa Boyce,

Christie Achenbach, and Tiffany Thomas Lopez constituted sexual discrimination and

harassment under Title IX.

        183.    Pursuant to Title IX, Defendant MSU is obligated and required to investigate all

allegations of sexual assault, battery, molestation, and harassment, including allegations that

sexual assault, battery, molestation, and harassment has been committed by an employee,

student, or third party.

        184.    Defendant MSU owed Plaintiff duties under Title IX, which duties included not to

engage in and be deliberately indifferent to known sexual assault, battery, molestation,

harassment, and other sexual misconduct.

        185.    Upon information and belief, an “appropriate person” at MSU, within the

meaning of Title IX, including but not limited to, Kathie Klages, Kelli Bert, Lianna Hadden,

Destiny Teachnor-Hauk, Gary Stollak, and other trainers and coaches, had actual and

constructive notice of sexual assault, battery, molestation, and harassment committed by Nassar

in 1997/1998, 1999, 2000, 2001/2002, 2004 and 2014, as described herein this Complaint.

        186.    The MSU Defendants failed to carry out their duties to investigate and take

corrective action, as well as to make appropriate recommendations, including informed consent,

under Title IX following the complaints of sexual assault, as described herein.

        187.    Despite the complaints and concerns conveyed to Defendant MSU employees,

agents, and/or representatives as described herein, allegations went unaddressed, which violated




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reporting policies and procedures and Title IX and was done in a manner that was reckless,

grossly negligent, and deliberately indifferent.

       188.    The MSU Defendants acted with indifference and in a clearly unreasonable

manner by failing to respond to the allegations of sexual assault, abuse, and molestation in light

of the known circumstances, Nassar’s conduct toward female athletes, and his access to young

girls and young women.

       189.    The MSU Defendants’ deliberate indifference is further confirmed by the

Department of Education’s investigation into MSU’s handling of sexual assault and relationship

violence allegations, which revealed:

           a. That the MSU Defendants’ failure to adequately respond to allegations of sexual

               assault created a sexually hostile environment and affected numerous students and

               staff on MSU’s campus; and

           b. That the MSU Defendants’ failure to address complaints of sexual violence in a

               prompt and equitable manner caused and may have contributed to a continuation

               of the sexually hostile environment.

       190.    The MSU Defendants’ responses were clearly unreasonable as Nassar continued

to sexually assault female athletes and other individuals until he was discharged from the

University in 2016.

       191.    MSU Defendants had actual and constructive knowledge of, but were recklessly

and deliberately indifferent to, Nassar’s sexual assault, battery, molestation, and harassment in

between 1997 and/or 1998 and 2016.

       192.    Defendant MSU’s failure to investigate and take corrective actions to complaints

of Nassar’s sexual assault, battery, molestation, and harassment in 1997/1998, 1999, 2000,




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2001/2002, 2004, and 2014 led to others, including Plaintiff, being sexually assaulted, battered,

molested, and harassed by Nassar.

       193.    The MSU Defendants were notified again in 2014 of Nassar’s conduct when

Amanda Thomashow reported she had an appointment with Nassar to address hip pain and was

sexually abused and molested by Nassar when he cupped her buttocks, massaged her breast and

vaginal area, and he became sexually aroused.

       194.    Amanda Thomashow reported to Defendant MSU facts which were omitted or

withheld from the investigative report including but not limited to the following:

           a. Nassar was sexually aroused while touching her;

           b. The appointment with Nassar did not end until she physically removed his hands

               from her body.

       195.    Three months after initiating an investigation, in July 2014, Amanda

Thomashow’s complaints were dismissed and Defendant MSU determined she didn’t understand

the “nuanced difference” between sexual assault and an appropriate medical procedure and

deemed Nassar’s conduct “medically appropriate” and “Not of a sexual nature.”

       196.    In addition, MSU produced two different versions of the report in response to the

July 2014 investigation—one version was sent to Amanda Thomashow and a different version

was sent to Nassar and other MSU personnel.

       197.    Following the 2014 investigation, Nassar became subject to new institutional

guidelines, including requirements that Nassar minimize or eliminate skin-to-skin contact and to

have a chaperone in the room.

       198.    The MSU Defendants failed to adequately supervise or otherwise ensure Nassar

complied with the newly imposed institutional guidelines even though the MSU Defendants had




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actual knowledge that Nassar posed a substantial risk of additional sexual abuse of the females

whom he had unfettered access.

       199.    Defendant MSU’s deliberate indifference before, during, and after the sexual

assault, battery, molestation, and harassment of Plaintiff was in violation of Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681, et seq.

       200.    Defendant MSU’s failure to properly and appropriately investigate and take

corrective action for the 1997/1998, 1999, 2000, 2001/2002, 2004, and 2014 complaints of

Nassar’s sexual assault, battery, molestation, and harassment resulted in Plaintiff being subject to

further sexual assault, battery, molestation, harassment, and a sexually hostile environment.

       201.    The MSU Defendants’ failure to promptly and appropriately investigate and

remedy and respond to the sexual assaults after they received notice subjected Plaintiff to further

harassment and a sexually hostile environment, effectively denying them access to educational

opportunities at MSU, including medical care.

       202.    Defendant MSU’s responses to the complaints 1997/1998, 1999, 2000,

2001/2002, 2004, and 2014 were clearly unreasonable as Nassar continued to sexually assault

young females until he was discharged from the University in 2016.

       203.    The MSU Defendants failed to offer counseling services to current or former

patients of Nassar, including Plaintiff.

       204.    As a direct and proximate result of the MSU Defendants’ actions and inactions,

Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and has




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sustained and continues to sustain loss of earning and loss of earning capacity.

                             COUNT II
     VIOLATION OF THE AFFORDABLE CARE ACT, 42 U.S.C. §§ 18116 ET SEQ.
       (AGAINST DEFENDANT MSU AND THE MSU BOARD OF TRUSTEES)

       205.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       206.    Section 1557 of the Patient Protection and Affordable Care Act, which is codified

at 42 U.S.C. § 18116, provides that:

       Except as otherwise provided for in this title (or an amendment made by this
       title), an individual shall not, on the ground prohibited under . . . title IX of the
       Education Amendments of 1972 (20 U.S.C. 1681 et seq.) . . . be excluded from
       participation in, be denied the benefits of, or be subjected to discrimination under,
       any health program or activity, any part of which is receiving Federal financial
       assistance, including credits, subsidies, or contracts of insurance, or under any
       program or activity that is administered by an Executive Agency or any entity
       established under this title (or amendments). The enforcement mechanisms
       provided for and available under . . . title IX shall apply for purposes of violations
       of this subsection.

       207.    Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681 et seq.

prohibits sex discrimination in programs that receive federal financial assistance.

       208.    Plaintiff, as a female, has a right under 42 U.S.C. § 18116 to receive health care

services free from discrimination on the basis of sex.

       209.    Plaintiff is an “individual[]” within the meaning of 42 U.S.C. § 18116.

       210.    Defendant MSU receives Federal financial assistance within the meaning of 42

U.S.C. § 18116, because it receives federal financial assistance such as credits, subsidies, or

contracts of insurance.

       211.    Nassar’s conduct and actions toward Plaintiff, including nonconsensual digital

vaginal penetration, touching of Plaintiff’s vaginal area, touching of Plaintiff’s breasts, and other

sexual touching as described herein this Complaint constitutes sex discrimination under Title IX

and 42 U.S.C. § 18116.



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       212.    The conduct of Defendants MSU and the MSU Board of Trustees described above

constitutes sex discrimination against Plaintiff.

       213.    Defendants MSU and the MSU Board of Trustees perpetrated this discrimination

with malice, deliberate disregard for, or deliberate or reckless indifference to Plaintiff’s rights.

       214.    The MSU Defendants’ failure to promptly and appropriately investigate and

remedy and respond to the sexual assaults after they received repeated notice of Nassar’s

wrongdoing subjected Plaintiff and countless others to further sexual harassment and sexual

assaults as well as a sexually hostile environment-effectively denying them all access to any

health program or activity at MSU.

       215.    As a direct and proximate result of the MSU Defendants’ actions and inactions,

Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and has

sustained and continues to sustain loss of earning and loss of earning capacity.

       216.    In the alternative, the actions or inaction of the MSU Defendants was deliberately

indifferent or so reckless as to demonstrate a substantial lack of concern for whether an injury

would result to Plaintiff and constitutes gross negligence that is the proximate cause of Plaintiff’s

damages. Plaintiff has suffered and continue to suffer pain and suffering, pain of mind and body,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress

disorder resulting in physically manifested injuries including anxiety, depressions, sleep

disorders, nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and




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will continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

enjoyment of life, and has sustained and continues to sustain loss of earnings and earning

capacity.

                              COUNT III
                VIOLATION OF CIVIL RIGHTS, 42 U.S.C. § 1983
      (AGAINST DEFENDANTS KLAGES, STRAMPEL, DIETZEL, AND KOVAN)

       217.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       218.    Plaintiff, as a female, is a member of a protected class under the Equal Protection

Clause of the Fourteenth Amendment to the United States Constitution.

       219.    Plaintiff enjoys the constitutionally protected Due Process right to be free from

the invasion of bodily integrity through sexual assault, battery, molestation, and harassment.

       220.    At all times pertinent hereto, Defendants Klages, Strampel, Kovan, Dietzel,

Lemmen, and Nassar were acting under color of law, to wit, under color of statutes, ordinances,

regulations, policies, customs, and usages of the State of Michigan and/or Defendant Michigan

State University.

       221.    The acts as alleged above amount to a violation of these clearly established

constitutionally protected rights, of which reasonable persons in the MSU Defendants’ position

should have known.

       222.    Defendants Klages, Strampel, Dietzel, and Kovan had, at all time pertinent hereto,

the ultimate responsibility and authority to train and supervise their employees, agents, and

representatives, in the appropriate manner of detecting, reporting, and preventing sexual abuse,

assault, and molestation and as a matter of acts, custom, policy, and/or practice failed to do so

with deliberate indifference.

       223.    At all times pertinent hereto, Defendants Strampel, Dietzel, and Kovan acted in a




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supervisory role to Nassar through their roles at the MSU Sports Medicine Clinic, MSU’s

College of Osteopathic Medicine, and other affiliated MSU departments or institutions.

        224.    At all times pertinent hereto, Defendant Klages, as the head coach of the MSU

Women’s Gymnastics Team, acted in a supervisory role to Nassar while he was acting as team

physician to the MSU Women’s Gymnastics Team.

        225.    As a matter of custom, policy, and/or practice, Defendant Klages had the ultimate

responsibility and authority to investigate complaints from her athletes that involved allegations

of impropriety or sexual assault by her team physician.

        226.    As a matter of custom, policy, and/or practice, Defendants Klages, Strampel,

Dietzel, and Kovan had and have the ultimate responsibility and authority to investigate

complaints against their employees, agents, and representatives from all individuals including,

but not limited to students, visitors, faculty, staff, or other employees, agents, and/or

representatives, and failed to do so with deliberate indifference.

        227.    Defendant Lemmen’s actions in assisting to exonerate Nassar from wrongdoing in

response to the 2014 Title IX investigation and Defendant Lemmen’s removal of Nassar’s

patient medical records from the MSU Sports Medicine Clinic at Nassar’s request demonstrate

the existence of an agreement or conspiracy between Nassar and Defendant Lemmen to deprive

Plaintiffs of their constitutional rights.

        228.    Defendants Klages, Strampel, Dietzel, Lemmen and Kovan, as well as Nassar,

had a duty to prevent sexual assault, abuse, and molestation of MSU’s patients, athletes, and

other members of the public who utilize MSU’s resources, those duties arising under the above-

referenced constitutional rights.

        229.    Defendant MSU’s internal policies provide that “[a]ll University employees . . .




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are expected to promptly report sexual misconduct or relationship violence that they observe or

learn about and that involves a member of the University community (faculty, staff or student) or

occurred at a University event or on University property.” They further provide that “[t]he

employee must report all relevant details about the alleged relationship violence or sexual

misconduct that occurred on campus or at a campus-sponsored event.”

        230.    This policy was violated in or around 1997 and/or 1998 when Larissa Boyce and

Jane B8 Doe reported sexual assault, abuse, and molestation by Nassar to Defendant Kathie

Klages, and Defendant Klages refused to report the incident and instead intimidated, humiliated,

and embarrassed Larissa Boyce and Jane B8 Doe.

        231.    Defendant Klages’s violation of the policy by refusing to take any action in

response to legitimate and credible claims of sexual assault by Larissa Boyce and Jane B8 Doe

resulted in Plaintiffs’ continued violations of their constitutional rights, including their Due

Process right to bodily integrity, which includes the right to be free from sexual assaults.

        232.    Defendant Klages’s actions as alleged above also demonstrate the existence of an

agreement or conspiracy between Nassar and Defendant Klages to deprive Plaintiff of her

constitutional rights.

        233.    By failing to prevent the aforementioned sexual assault, abuse, and molestation

upon Plaintiffs, and by failing to appropriately respond to numerous reports of Nassar’s sexual

assault, abuse, and molestation in a manner that was so clearly unreasonable it amounted to

deliberate indifference, Defendants Klages, Strampel, Dietzel, Lemmen, and Kovan, as well as

Nassar, are liable to Plaintiffs pursuant to 42 U.S.C. § 1983.

        234.    Defendants Klages, Strampel, Dietzel, Lemmen, Kovan, as well as Nassar, are

also liable to Plaintiffs under 42 U.S.C. § 1983 for maintaining customs, policies, and practices




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which deprived Plaintiffs of rights secured by the Fourteenth Amendment to the United States

Constitution in violation of 42 U.S.C. § 1983.

       235.    Defendants Klages, Strampel, Dietzel, Lemmen, and Kovan tolerated, authorized

and/or permitted a custom, policy, practice or procedure of insufficient supervision and failed to

adequately screen, counsel, or discipline Nassar, with the result that Nassar was allowed to

violate the constitutional rights of persons such as Plaintiff with impunity.

       236.    As a direct and proximate result of the MSU Defendants’ and Nassar’s actions

and/or inactions, Plaintiff has suffered and continues to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and has sustained and continues to sustain loss of earning and loss of earning capacity.

       237.    In the alternative, the actions or inactions of Defendants Klages, Strampel,

Dietzel, Lemmen, and Kovan were so reckless as to demonstrate a substantial lack of concern for

whether an injury would result to Plaintiff and constitutes gross negligence that is the proximate

cause of Plaintiff’s damages. Plaintiff has suffered and continues to suffer pain and suffering,

pain of mind and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life,

post-traumatic stress disorder resulting in physically manifested injuries including anxiety,

depressions, sleep disorders, nightmares, psychological injuries, and physical injuries. Plaintiff

was prevented and will continue to be prevented from performing Plaintiff’s daily activities and

obtaining the full enjoyment of life, and has sustained and continues to sustain loss of earnings

and earning capacity.




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                              COUNT IV
             FAILURE TO TRAIN AND SUPERVISE, 42 U.S.C. § 1983
      (AGAINST DEFENDANTS KLAGES, STRAMPEL, DEITZEL, AND KOVAN)

          238.   Plaintiff incorporates each preceding Paragraph as though fully restated herein.

          239.   Defendants Klages, Strampel, Dietzel, and Kovan had, at all times pertinent

hereto, the ultimate responsibility and authority to train and supervise their employees, agents,

and/or representatives, including Nassar and all faculty and staff, regarding their duties toward

students, faculty, staff, and visitors.

          240.   Defendants Klages, Strampel, Dietzel, and Kovan failed to train and supervise its

employees, agents, and/or representatives, including all faculty and staff, regarding the following

duties:

             a. Perceive, report, and stop inappropriate sexual conduct on campus;

             b. Provide diligent supervision over student-athletes and other individuals;

             c. Report suspected incidents of sexual abuse or sexual assault;

             d. Ensure the safety of all students, faculty, staff, and visitors to Defendant MSU’s

                 campuses premises;

             e. Provide a safe environment for all students, faculty, staff, and visitors to

                 Defendant MSU’s premises free from sexual harassment; and,

             f. Properly train faculty and staff to be aware of their individual responsibility for

                 creating and maintaining a safe environment.

          241.   The above list of duties is not exhaustive.

          242.   Defendants Klages, Strampel, Dietzel, and Kovan failed to adequately train

coaches, trainers, medical staff, and others regarding the aforementioned duties which led to

violations of Plaintiff’s rights.




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       243.    As a result, Defendants Klages, Strampel, Dietzel, and Kovan deprived Plaintiff

of rights, including those described herein, secured by the Fourteenth Amendment to the United

States Constitution in violation of 42 U.S.C. § 1983.

       244.    As a direct and proximate result of Defendants’ actions and/or inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life, and has

sustained and continues to sustain loss of earning and loss of earning capacity.

       245.    In the alternative, the actions or inaction of the Defendants Klages, Strampel,

Dietzel, and Kovan were so reckless as to demonstrate a substantial lack of concern for whether

an injury would result to Plaintiff and constitutes gross negligence that is the proximate cause of

Plaintiff’s damages. Plaintiff has suffered and continues to suffer pain and suffering, pain of

mind and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life,

post-traumatic stress disorder resulting in physically manifested injuries including anxiety,

depressions, sleep disorders, nightmares, psychological injuries, and physical injuries. Plaintiff

was prevented and will continue to be prevented from performing Plaintiff’s daily activities and

obtaining the full enjoyment of life, and has sustained and continues to sustain loss of earnings

and earning capacity.

                                       COUNT V
                                  GROSS NEGLIGENCE
                            (AGAINST THE MSU DEFENDANTS)

       246.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.




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       247.    The MSU Defendants owed Plaintiff a duty of ordinary care to ensure their safety

and freedom from sexual assault, abuse, and molestation while interacting with their employees,

representatives, and/or agents, including Nassar.

       248.    Nassar owed Plaintiff a duty to use ordinary care in providing medical treatment

as an employee, agent, and/or representative of the MSU Defendants.

       249.    A special, confidential, and fiduciary relationship was created between Plaintiff

and Nassar when Plaintiffs sought medical treatment from Nassar in the course of his

employment, agency, and/or representation of the MSU Defendants, resulting in Nassar owing

Plaintiff a duty to use due care.

       250.    A special, confidential, and fiduciary relationship was created and existed at all

times pertinent hereto between the MSU Defendants and Nassar, as described herein this

Complaint, resulting in the MSU Defendants owing Plaintiffs a duty to use due care.

       251.    The MSU Defendants and their employees, agents, and/or representatives had a

duty to report suspected sexual abuse.

       252.    The MSU Defendants had notice of complaints of a sexual nature related to

Nassar’s purported treatment with young girls and women through Defendant MSU employees,

agents, and/or representatives as early as 1997/1998, again in 1999, again in 2000, again in

2001/2002, again in 2004, and again in 2014, as described herein this Complaint.

       253.    The MSU Defendants and their employees, agents, and/or representatives failed to

report sexual abuse about which they knew or should have known in 1997/1998, 1999, 2000,

2001/2002, 2004, and 2014, as described herein this Complaint.

       254.    The MSU Defendants’ failure to adequately train and supervise Nassar, especially

after the MSU Defendants knew or should have known of complaints regarding Nassar’s




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conduct, was so reckless as to demonstrate a substantial lack of concern for whether injury

resulted to Plaintiffs.

        255.     Nassar’s conduct in sexually assaulting, abusing, and molesting Plaintiffs in the

course of his employment, agency, and/or representation of the MSU Defendants under the guise

of proper medical treatment was so reckless as to demonstrate a substantial lack of concern for

whether injury resulted to Plaintiffs.

        256.     Nassar's conduct in sexually assaulting, abusing, and molesting Plaintiffs in the

course of his employment, agency, and/or representation of the MSU Defendants and under the

guise of rendering “medical treatment” was so reckless as to demonstrate a substantial lack of

concern for whether injury would result to Plaintiffs.

        257.     The MSU Defendants’ conduct and the conduct of their individual employees and

agents demonstrated a willful disregard for precautions to ensure Plaintiffs’ safety.

        258.     The MSU Defendants knew or should have known of complaints pertaining to

Nassar’s nonconsensual sexual touching and assaults that occurred under the guise of medical

treatment.

        259.     The MSU Defendants’ conduct demonstrated a willful disregard for substantial

risks to Plaintiff.

        260.     The MSU Defendants breached duties owed to Plaintiff and were grossly

negligent when they conducted themselves in the manner described herein this Complaint. These

acts by the MSU Defendants were committed with reckless disregard to Plaintiff’s safety, health,

constitutional and/or statutory rights, and with substantial lack of concern to whether injury

resulted to Plaintiff.

        261.     The MSU Defendants failed to warn or advise current and former patients of




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Nassar, including Plaintiff, that allegations could surface that in fact the treatments that the

patients received was not medical treatment at all but was potentially sexual assault.

       262.    The MSU Defendants failed to offer counseling services to current of former

patients of Nassar, including Plaintiff.

       263.    As a direct and proximate result of the MSU Defendants’ and Nassar’s actions

and/or inactions, Plaintiff has suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and has sustained and continues to sustain loss of earning and loss of earning capacity.

       264.    As a direct and/or proximate result of Defendants’ gross negligence, Plaintiff has

suffered and continues to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

enjoyment of life, and has sustained and continues to sustain loss of earnings and earning

capacity.

                                  COUNT VI—NEGLIGENCE
                                  (Against the MSU Defendants)

       265.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       266.    The MSU Defendants owed Plaintiff a duty to use ordinary care to ensure her

safety and freedom from sexual assault, abuse, and molestation while interacting with their



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employees, agents, and/or representatives, including Nassar.

       267.     Nassar owed Plaintiff a duty to use ordinary care in providing medical treatment

as an employee, agent, and/or representative of the MSU Defendants.

       268.     A special, confidential, and fiduciary relationship was created between Plaintiff

and Nassar when Plaintiff sought medical treatment from Nassar in the course of his

employment, agency, and/or representation of the MSU Defendants, resulting in Nassar owing

Plaintiff a duty to use ordinary care in his undertakings.

       269.     A special, confidential, and fiduciary relationship was created and existed at all

times pertinent hereto between the MSU Defendants and Nassar, as described herein this

Complaint, resulting in the MSU Defendants owing Plaintiff a duty to use ordinary care in their

undertakings.

       270.     The MSU Defendants and their employees, agents, and/or representatives had a

duty to report suspected sexual abuse.

       271.     The MSU Defendants had notice of complaints of a sexual nature related to

Nassar’s purported treatment with young girls and women through Defendant MSU employees,

agents, and/or representatives as early as 1997/1998, again in 1999, again in 2000, again in

2001/2002, again in 2004, and again in 2014, as described herein this Complaint.

       272.     The MSU Defendants and their employees, agents, and/or representatives failed to

report sexual abuse about which they knew or should have known in 1997/1998, 1999, 2000,

2001/2002, 2004, and 2014, as described herein this Complaint.

       273.     The MSU Defendants knew or should have known of the foreseeability of sexual

abuse with respect to youth and collegiate sports.

       274.     The MSU Defendants’ failure to properly address, investigate, and remedy




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complaints against Nassar’s conduct was a breach of the duty to use ordinary care.

       275.    Nassar’s conduct in sexually assaulting, battering, molesting, and harassing

Plaintiff in the course of his employment, agency, and/or representation of the MSU Defendants

under the guise of proper medical treatment was a breach of the duty to use ordinary care.

       276.    The MSU Defendants’ failure to adequately train and supervise Nassar breached

the duty of ordinary care.

       277.    The MSU Defendants failed to warn or advise current and former patients of

Nassar, including Plaintiff, that allegations could surface that in fact the treatments that the

patients received was not medical treatment at all but was potentially sexual assault.

       278.    The MSU Defendants failed to offer counseling services to current of former

patients of Nassar, including Plaintiff.

       279.    As a direct and proximate result of Defendants’ actions and/or inactions, Plaintiff

has suffered and continues to suffer pain of mind and body, mental anguish, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life, and has

sustained and continues to sustain loss of earning and loss of earning capacity.

                                       COUNT VII
                                  VICARIOUS LIABILITY
                             (AGAINST THE MSU DEFENDANTS)

       280.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       281.    Vicarious liability is indirect responsibility imposed by operation of law where an

employer is bound to keep its employees within their proper bounds and is responsible if it fails

to do so.




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       282.    Vicarious liability essentially creates agency between the principal and its agent

so that the principal is held to have done what the agent has done.

       283.    The MSU Defendants employed and/or held Nassar out to be its employee, agent,

and/or representative from approximately 1996 to 2016.

       284.    Defendant MSU’s website contains hundreds of web pages portraying Nassar as a

distinguished member of Defendant MSU’s College of Osteopathic Medicine, Division of Sports

Medicine.

       285.    A special, confidential, and fiduciary relationship was created and existed at all

times pertinent hereto between the MSU Defendants and Nassar, as described herein this

Complaint, resulting in the MSU Defendants owing Plaintiffs a duty to prevent them from

Nassar’s sexual assault, battery, molestation, and discrimination.

       286.    The MSU Defendants are vicariously liable for the actions of Nassar, as described

above, that were performed during the course of his employment, agency, and/or representation

with the MSU Defendants and while he had access to young female patients on Defendant

MSU’s campus and premises through its College of Osteopathic Medicine and Division of

Sports Medicine.

       287.    The MSU Defendants had actual and/or constructive knowledge of Nassar’s

propensity for sexually assaulting, battering, molesting, and harassing females on several

occasions under the guise of medical treatment and during the course of his employment, agency,

and/or representation with the MSU Defendants, beginning in 1997 and/or 1998, as described

herein this Complaint.

       288.    The MSU Defendants had actual and/or constructive knowledge of Nassar’s

propensity for sexually assaulting, battering, molesting, and harassing his patients and other




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females under the guise of medical treatment and during the course of his employment, agency,

and/or representation with the MSU Defendants, and took no action to prevent such conduct.

       289.    It was reasonably foreseeable that Nassar would continue to sexually assault,

batter, molest, and harass females under the guise of medical treatment during the course of his

employment, agency, and/or representation with the MSU Defendants, with the actual and/or

constructive knowledge the MSU Defendants had of such conduct.

       290.    As a direct and proximate result of Nassar’s actions carried out in the course of

his employment, agency, and/or representation of the MSU Defendants, Plaintiff has suffered

and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

physical manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

fright, grief, humiliation, enjoyment of life, was prevented and will continue to be prevented

from performing daily activities and obtaining the full enjoyment of life, and has sustained and

continues to sustain loss of earning and loss of earning capacity.

                                      COUNT VIII
                                EXPRESS/IMPLIED AGENCY
                               (AGAINST MSU DEFENDANTS)

       291.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       292.    An agent is a person who is authorized by another to act on its behalf.

       293.    The MSU Defendants intentionally and/or negligently made representations that

Nassar was their employee, agent, and/or representative.

       294.    On the basis of those representations, Plaintiff reasonably believed that Nassar

was acting as an employee, agent, and/or representative of the MSU Defendants.

       295.    Plaintiff was injured as a result of Nassar’s sexual assault, abuse, and molestation,

as described above. These acts were performed during the course of Nassar’s employment,




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agency, and/or representation with the MSU Defendants while he had access to young females.

       296.    Plaintiff was injured because she relied on the MSU Defendants to provide

employees, agents, and representatives who exercise reasonable skill and care.

       297.    As a direct and proximate result of Nassar’s actions carried out in the course of

his employment, agency, and/or representations of the MSU Defendants, Plaintiff has suffered

and continues to suffer pain of mind and body, mental anguish, shock, emotional distress,

physical manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

fright, grief, humiliation, enjoyment of life, was prevented and will continue to be prevented

from performing daily activities and obtaining the full enjoyment of life, and has sustained and

continues to sustain loss of earning and loss of earning capacity.

       298.    In the alternative, the actions or inactions of the MSU Defendants were so

reckless as to demonstrate a substantial lack of concern for whether an injury would result to

Plaintiff and constitutes gross negligence that is the proximate cause of Plaintiff’s damages.

Plaintiff has suffered and continues to suffer pain and suffering, pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress

disorder resulting in physically manifested injuries including anxiety, depressions, sleep

disorders, nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and

will continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

enjoyment of life, and has sustained and continues to sustain loss of earnings and earning

capacity.




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                                        COUNT IX
                                  NEGLIGENT SUPERVISION
                                (AGAINST MSU DEFENDANTS)

        299.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

        300.    The MSU Defendants had a duty to provide reasonable supervision of their

employee, agent, and/or representative, Nassar, while he was in the course of his employment,

agency, and/or representation with the MSU Defendants and while he interacted with young

females, including Plaintiff.

        301.    Given the known sexual abuse in youth sports and gymnastics, it was reasonably

foreseeable that Nassar, who had prior allegations against him, had and/or would sexually abuse

young females, including Plaintiff, unless properly supervised.

        302.    The MSU Defendants, by and through their employees, agents, representatives,

managers, and/or assigns, such as Kathie Klages, President Simon, President McPherson, Dean

Strampel, or Dr. Kovan, knew or reasonably should have known of Nassar’s conduct and/or that

Nassar was an unfit employee, agent, and/or representative because of his sexual interest in

children.

        303.    The MSU Defendants breached their duty to provide reasonable supervision of

Nassar, and permitted Nassar, who was in a position of trust and authority, to commit acts

against Plaintiff.

        304.    The aforementioned sexual assault, abuse, and molestation occurred while

Plaintiff and Nassar were on the premises of Defendant MSU and while Nassar was in the course

of his employment, agency, and/or representation with the MSU Defendants.

        305.    The MSU Defendants tolerated, authorized, and/or permitted a custom, policy,

practice, or procedure of insufficient supervision and failed to adequately screen, counsel, or




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discipline such individuals, resulting in the allowance of Nassar to violate the rights of persons

such as Plaintiff with impunity.

       306.    The MSU Defendants failed to warn or advise current and former patients of

Nassar, including Plaintiff, that allegations could surface that in fact the treatments that the

patients received was not medical treatment at all but was potentially sexual assault.

       307.    The MSU Defendants failed to offer counseling services to current of former

patients of Nassar, including Plaintiff.

       308.    As a direct and proximate result of the MSU Defendants’ failure to adequately

supervise, Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and has sustained and continues to sustain loss of earning and loss of earning capacity.

       309.    In the alternative, the MSU Defendants’ failure to supervise was so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiff and

constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff has

suffered and continues to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

enjoyment of life, and has sustained and continues to sustain loss of earnings and earning




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capacity.

                                    COUNT X
                     NEGLIGENT FAILURE TO WARN OR PROTECT
                         (AGAINST THE MSU DEFENDANTS)

        310.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

        311.    The MSU Defendants knew or should have known that Nassar posed a risk of

harm to Plaintiff and/or others in Plaintiff’s situation.

        312.    The MSU Defendants knew or should have known that Nassar committed sexual

assault, abuse, and molestation and/or was continuing to engage in such conduct.

        313.    As early as 1997 and/or 1998, the MSU Defendants had direct and/or constructive

knowledge of Nassar’s dangerous conduct and failed to respond reasonably and responsibly.

        314.    The MSU Defendants had a duty to warn or protect Plaintiff and others in

Plaintiff’s situation against the risk of injury by Nassar.

        315.    The special, trusting, confidential, and fiduciary relationship between the MSU

Defendants and Nassar, as an employee, agent, and/or representative of the MSU Defendants,

created a duty for the MSU Defendants to disclose information regarding Nassar’s sexual

conduct.

        316.    The MSU Defendants breached the duty owed to Plaintiff by failing to warn

Plaintiff and/or by failing to take reasonable steps to protect Plaintiff from Nassar.

        317.    The MSU Defendants breached the duties to protect owed to Plaintiff by failing

to:

            a. Respond to allegations of sexual assault, abuse, and molestation;

            b. Detect and/or uncover evidence of sexual assault, abuse, and molestation; and

            c. Investigate, adjudicate, and terminate Nassar’s employment with Defendant MSU




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                prior to 2016.

        318.    The MSU Defendants violated Plaintiffs’ rights by failing to adequately screen,

counsel, and/or discipline Nassar for physical and/or mental conditions that might have rendered

him unfit to discharge the duties and responsibilities of a physician at an educational institution,

resulting in a violation of Plaintiff’s rights.

        319.    The MSU Defendants willfully refused to notify, give adequate warning, and

implement appropriate safeguards to protect Plaintiff from Nassar’s conduct.

        320.    As a direct and proximate result of the MSU Defendants’ failure to warn or

protect, Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and has sustained and continues to sustain loss of earning and loss of earning capacity.

        321.    In the alternative, the MSU Defendants’ failure to warn or protect was so reckless

as to demonstrate a substantial lack of concern for whether an injury would result to Plaintiff and

constitutes gross negligence that is the proximate cause of Plaintiff’s damages.

        322.    Plaintiff has suffered and continue to suffer pain and suffering, pain of mind and

body, shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic

stress disorder resulting in physically manifested injuries including anxiety, depressions, sleep

disorders, nightmares, psychological injuries, and physical injuries.

        323.    Plaintiff was prevented and will continue to be prevented from performing

Plaintiff’s daily activities and obtaining the full enjoyment of life, and has sustained and




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continues to sustain loss of earnings and earning capacity.

                                   COUNT XI
                     NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                         (AGAINST THE MSU DEFENDANTS)

       324.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       325.    The MSU Defendants had a duty to take reasonable protective measures to protect

Plaintiff and others in Plaintiff’s situation against the risk of injury by Nassar, including the duty

to train or educate Plaintiff and other individuals in Plaintiff’s situation, about how to avoid a

risk of sexual assault and/or sexual abuse by Nassar.

       326.    The MSU Defendants breached the duty owed to Plaintiff to take reasonable

protective measures to protect Plaintiff, and other patients of Nassar, by failing to properly train

or educate Plaintiff and other individuals in Plaintiff’s situation, about how to avoid a risk of

sexual assault and/or sexual abuse by Nassar.

       327.    The MSU Defendants had a duty to train and educate Nassar in a reasonable

manner in regards to Nassar’s treatment of females in his capacity as an employee, agent, and/or

representative of the MSU Defendants.

       328.    The MSU Defendants breached the duty owed to Plaintiff by failing to properly

train or educate Nassar in a reasonable manner in regards to Nassar’s treatment of females in his

capacity as an employee, agent, and/or representative of the MSU Defendants.

       329.    The MSU Defendants failed to implement reasonable safeguards to:

           a. Prevent acts of sexual assault, abuse, and molestation by Nassar; and

           b. Avoid placing Nassar in positions where he would have unsupervised contact and

               interaction with Plaintiff and other young women.

       330.    As a direct and proximate result of the MSU Defendants’ failure to train or




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educate, Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and has sustained and continues to sustain loss of earning and loss of earning capacity.

       331.    In the alternative, the MSU Defendants’ failure to train or educate was so reckless

as to demonstrate a substantial lack of concern for whether an injury would result to Plaintiff and

constitutes gross negligence that is the proximate cause of Plaintiff’s damages. Plaintiff has

suffered and continues to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and will

continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

enjoyment of life, and has sustained and continues to sustain loss of earnings and earning

capacity.

                                      COUNT XII
                                NEGLIGENT RETENTION
                            (AGAINST THE MSU DEFENDANTS)

       332.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       333.    The MSU Defendants owed a duty to Plaintiff and others in Plaintiff’s situation

when credentialing, hiring, retaining, screening, checking, regulating, monitoring, and

supervising employees, agents, and/or representatives to exercise ordinary care.

       334.    The MSU Defendants breached the duties owed to Plaintiff by failing to




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adequately investigate, report, and address complaints about Nassar’s conduct, which the MSU

Defendants knew or should have known.

       335.    The MSU Defendants breached the duties owed to Plaintiff when the MSU

Defendants retained Nassar as an employee, agent, and/or representative after the MSU

Defendants discovered or should have reasonably discovered Nassar’s conduct, which reflected a

propensity for sexual misconduct.

       336.    The MSU Defendants’ failure to act in accordance with the standard of care

resulted in Nassar gaining access to and sexually assaulting and/or sexually abusing Plaintiff and

an unknown number of other individuals.

       337.    The aforementioned conduct of the MSU Defendants in credentialing, hiring,

retaining, screening, checking, regulating, monitoring, and supervising of Nassar created a

foreseeable risk of harm to Plaintiff and other minors and young adults.

       338.    As a direct and proximate result of the MSU Defendants’ actions in retaining

Nassar, Plaintiff have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and has sustained and continues to sustain loss of earning and loss of earning capacity.

       339.    In the alternative, the MSU Defendants’ actions in retaining Nassar were so

reckless as to demonstrate a substantial lack of concern for whether an injury would result to

Plaintiff and constitutes gross negligence that is the proximate cause of Plaintiff’s damages.

Plaintiff has suffered and continues to suffer pain and suffering, pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-




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esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress

disorder resulting in physically manifested injuries including anxiety, depressions, sleep

disorders, nightmares, psychological injuries, and physical injuries. Plaintiff was prevented and

will continue to be prevented from performing Plaintiff’s daily activities and obtaining the full

enjoyment of life, and has sustained and continues to sustain loss of earnings and earning

capacity.

                                      COUNT XIII
                            FRAUD AND MISREPRESENTATION
                            (AGAINST THE MSU DEFENDANTS)

       340.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       341.    From approximately 1996 to September 2016, the MSU Defendants represented

to Plaintiff and the public that Nassar was a competent, safe, and highly regarded physician.

       342.    By representing that Nassar was a team physician and an athletic physician at

Defendant MSU and a National Team Physician with Defendant USAG, the MSU Defendants

represented to Plaintiff and the public that Nassar was safe, trustworthy, and of high moral and

ethical repute and that Plaintiffs and the public need not worry about being harmed by Nassar.

       343.    The aforementioned representations were false when they were made because

Nassar had and was continuing to sexually assault, abuse, and molest an unknown number of

patients, including Plaintiff, and other individuals.

       344.    The MSU Defendants knew the aforementioned representations regarding Nassar

were false because there had been previous complaints in 1997/1998, 1999, 2000, 2001/2002,

2004, and 2014 to Defendant MSU employees, agents, and/or representatives about Nassar’s

sexual assault, battery, molestation, and harassment.

       345.    Although Defendant MSU had been informed of Nassar’s conduct, the MSU




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Defendants failed to investigate, remedy, or in any way address the 1997/1998, 1999, 2000,

2001/2002, 2004, and 2014 complaints against Nassar.

       346.    The MSU Defendants continued to portray Nassar as a competent and safe

physician.

       347.    Plaintiff relied on the MSU Defendants’ portrayal of Nassar when they sought his

medical treatment for their injuries.

       348.    Plaintiff and other members of the public relied on the assertions of the MSU

Defendants and several other young females continued to seek medical treatment from Nassar in

the wake of known concerns and dangers.

       349.    Nassar was permitted to continue employment and sexually assault, abuse, and

molest an unknown number of other individuals, despite Amanda Thomashow’s 2014 complaint

against Nassar to Kristine M. Moore, Assistant Director for Institutional Equity at the MSU

Office for Inclusion and Intercultural Initiatives.

       350.    The MSU Defendants disregarded Amanda Thomashow’s 2014 complaint

because of Defendant MSU’s culture which included existence of a sexually hostile environment

on Defendant MSU’s campus and premises and the University’s failure to address complaints of

sexual harassment, including sexual violence in a prompt and equitable manner which in turn

caused and may have contributed to a continuation of the sexually hostile environment, Nassar

was permitted to continue employment and sexually abuse, assault, and molest an unknown

number of other individuals.

       351.    The MSU Defendants intentionally withheld material opinions, findings,

evidence, and conclusions from Amanda Thomahow and other Nassar victims in regards to the

findings of Amanda Thomashow’s Title IX investigation conducted in 2014, as described herein




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this Complaint.

       352.    Between the time of Amanda Thomashow’s 2014 complaint and 2016, the MSU

Defendants continued to portray Nassar as a safe and competent physician.

       353.    The MSU Defendants, by and through their representatives, also affirmatively

took steps to attempt to dissuade Amanda Thomashow from speaking with police about her

complaints against Nassar.

       354.    The MSU Defendants, by and through their representatives, also affirmatively

took steps to attempt to dissuade other potential victims of Nassar from speaking with police or

the media by advising the potential victims to respond “No comment” to any requests by media

or police.

       355.    These actions of MSU Defendants, including the disregard of Amanda

Thomashow’s complaints, were purportedly done as an attempt to hide the known instances of

sexual abuse committed by Nassar.

       356.    As a result of Plaintiff’s and the public’s reliance on the MSU Defendants’

fraudulent misrepresentations regarding Nassar, Plaintiff and others in Plaintiff’s situation were

sexually assaulted, abused, and molested by Nassar during appointments.

       357.    As a direct and proximate result of the MSU Defendants’ actions and knowingly

false representations, Plaintiff has suffered and continues to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and has sustained and continues to sustain loss of earning and loss of earning capacity.




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                           COUNT XIV
  MICHIGAN CHILD PROTECTION LAW—FAILURE TO REPORT CHILD ABUSE
    (AGAINST DEFENDANTS KLAGES, STRAMPEL, KOVAN, AND STOLLAK)

       358.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       359.    Michigan’s Child Protection Law, MCL 722.621 et seq., establishes mandatory

reporting guidelines for suspected child abuse or neglect and provides penalties for failure to

report child abuse or neglect.

       360.    Specifically, MCL 722.623 provides in pertinent part:

       A physician, dentist, physician’s assistant, registered dental hygienist, medical
       examiner, nurse, person licensed to provide emergency medical care, audiologist,
       psychologist, marriage and family therapist, licensed professional counselor,
       social worker, licensed master’s social worker, licensed bachelor’s social worker,
       registered social service technician, social service technician, a person employed
       in a professional capacity in any office of the friend of the court, school
       administrator, school counselor or teacher, law enforcement officer, member of
       the clergy, or regulated child care provider who has reasonable cause to suspect
       child abuse or child neglect shall make an immediate report to centralized intake
       by telephone, or, if available, through the online reporting system, of the
       suspected child abuse or child neglect.

       361.    Child abuse is defined as “harm or threatened harm to a child’s health or welfare

that occurs through nonaccidental physical or mental injury, sexual abuse, sexual exploitation, or

maltreatment, by a parent, a legal guardian, or any other person responsible for the child’s health

or welfare or by a teacher, a teacher’s aide, or a member of the clergy.” MCL 722.622(g).

       362.    Child neglect is defined as “harm or threatened harm to a child’s health or welfare

by a by a parent, a legal guardian, or any other person responsible for the child’s health or

welfare that occurs through either of the following: (i) Negligent treatment, including the failure

to provide adequate food, clothing, shelter, or medical care. (ii) Placing a child at an

unreasonable risk to the child’s health or welfare by failure of the parent, legal guardian, or any

other person responsible for the child’s health or welfare to intervene to eliminate that risk when




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that person is able to do so and has, or should have, knowledge of the risk.” MCL 722.622(k).

       363.    Under MCL 722.633(1), “A person who is required by this act to report an

instance of suspected child abuse or neglect and who fails to do so is civilly liable for the

damages proximately caused by the failure.”

       364.    Defendants Klages, Strampel, Kovan, and Stollak were mandatory reporters

during the time Nassar was engaged in child abuse or child neglect.

       365.    As established in the allegations above, Defendants Klages, Strampel, Kovan, and

Stollak had reasonable cause to suspect child abuse or child neglect.

       366.    Defendant Klages, Strampel, Kovan, and Stollak failed to report any instances of

suspected child abuse or neglect.

       367.    Defendants Klages, Strampel, Kovan, and Stollak are or were employed by

Defendants Michigan State University and Michigan State University Board of Trustees during

the time Nassar was engaged in child abuse or child neglect, and were acting in the scope and

course of their employment when they failed to report any instances of suspected child abuse or

neglect.

       368.    Defendants Klages, Strampel, Kovan, and Stollak are directly civilly liable for the

damages proximately caused by their failure to report any instances of suspected child abuse or

neglect. Defendants Michigan State University and Michigan State University Board of Trustees

are vicariously liable for said damages.

       369.    As a direct and proximate result of Nassar’s sexual molestation, assault and

battery, and invasion of Plaintiff’s privacy, Plaintiff has suffered and continues to suffer pain of

mind and body, mental anguish, shock, emotional distress, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of




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life, was prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and has sustained and continues to sustain loss of earning

and loss of earning capacity.

          DAMAGES—FOR ALL AFOREMENTIONED CAUSES OF ACTION

       370.    Plaintiff incorporates each preceding Paragraph as though fully restated herein.

       371.    As a direct and/or proximate result of Defendants’ actions and/or inactions stated

above, Plaintiff has suffered and continues to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, was prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and has sustained and continues to sustain loss of earning and loss of earning capacity.

       372.    The conduct, actions and/or inactions of Defendants as alleged in the above stated

counts and causes of action constitute violations of Plaintiff’s constitutional and federal rights as

well as the common and/or statutory laws of the State of Michigan, and the United States District

Court has jurisdiction to hear and adjudicate said claims.

       373.    In whole or in part, as a result of some or all of the above actions and/or inactions

of Defendants, Plaintiff has suffered and continues to suffer irreparable harm as a result of the

violations.

       374.    The amount in controversy is well in excess of $75,000.00.

       WHEREFORE, Plaintiff requests this Court and the finder of fact to enter a Judgment in

Plaintiff’s favor against all named Defendants on all counts and claims as indicated above in an

amount consistent with the proofs of trial, and seek against Defendants all appropriate damages

arising out of law, equity, and fact for each or all of the above counts where applicable and




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hereby request that the trier of fact, be it judge or jury, award Plaintiff all applicable damages,

including but not limited to compensatory, special, exemplary, and/or punitive damages, in

whatever amount the Plaintiff is entitled, and all other relief arising out of law, equity, and fact,

also including but not limited to:

           a. Compensatory damages in an amount to be determined as fair and just under the

               circumstances, by the trier of fact including, but not limited to medical expenses,

               loss of earnings, mental anguish, anxiety, humiliation, and embarrassment,

               violation of Plaintiff’s constitutional, federal, and state rights, loss of social

               pleasure and enjoyment, and other damages to be proved;

           b. Punitive and/or exemplary damages in an amount to be determined as reasonable

               or just by the trier of fact;

           c. Reasonable attorney fees, interest, and costs; and

           d. Other declaratory, equitable, and/or injunctive relief, including, but not limited to

               implementation of institutional reform and measures of accountability to ensure

               the safety and protection of young athletes and other individuals, as appears to be

               reasonable and just.

                                        Respectfully submitted,
                                        Giroux Amburn PC

Dated: April 23, 2018                   /s/ Robert M. Giroux
                                        Robert M. Giroux (P47966)
                                        Matthew D. Klakulak (P60220)
                                        Attorneys for Plaintiff
                                        28588 Northwestern Highway, Suite 100
                                        Southfield, Michigan 48034
                                        (248) 531-8665
                                        r.giroux@girouxamburn.com
                                        m.klakulak@girouxamburn.com




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                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury of the matters alleged herein.

                                     Respectfully submitted,
                                     Giroux Amburn PC

Dated: April 23, 2018                /s/ Robert M. Giroux
                                     Robert M. Giroux (P47966)
                                     Matthew D. Klakulak (P60220)
                                     Attorneys for Plaintiff
                                     28588 Northwestern Highway, Suite 100
                                     Southfield, Michigan 48034
                                     (248) 531-8665
                                     r.giroux@girouxamburn.com
                                     m.klakulak@girouxamburn.com




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